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                            pRICEWATERHOUsECCOPER5
                                                                                                              PricewaterhouseCoopers LLP
                                                                                                              1100 Loues_anaSh-eet
                                                                                                              State4100
                                                                                                              Houstor_TX 77002
                                                                                                              Telephone (713) 757 5200
                                                                                                              Facsimile (713} 757 5249

                           April 8, 1999



                           Mr. Richard A. Robert
                           Midcoast Energy Resources, Inc.
                           1100 Louisiana, Suite 2950
                           Houston, Texas 77002

                           Dear Richard:

                           We appreciate the opportunity to provide tax comphance services to Mideoast Energy Resources, Inc.
                           Enclosed are the terms of our engagement, which summarize the scope of the services to be performed
                           and outline the responsibilities of PricewaterhouseCoopers LLP and Mldcoast Energy Resources, Inc.
                           necessary to perform the project.

                           We value our relationship with Midcoast Energy Resources, Inc. and believe our terms of engagement
                           will assure the successful completion of our work.

                          We look forward to working with you and your staff during the completion of this important tax
                          compliance project. If the attached terms are in accordance with your understanding of our
                          engagement, please sign the enclosed copy and return it in the enclosed self-addressed, stamped
                          envelope. Please retain the original for your files. If you have any questions or comments after
                          reviewing the terms of engagement, please do not hesitate to contact Robert H. Whitten, Jr. at (713)
                          757-5237 or me at (713) 657-8264.

                          Yours very truly,




                          Thomas 3"Pa]misano

                          Enclosures:      Terms of Engagement to Prepare Tax Returns
                                           Exhibit I: General Terms and Conditions




                                                                                EXHIBIT
                                                                           ..    _
                                                                    ii   GOVERNMENT           ]

                                                                                                                                 MID 2.3-5
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                                Terms of Engagement to Prepare Tax Return



   Scope of Services

   PricewaterhouseCoopers     LLP ("PricewaterhouseCoopers",       "we" or "us") will perform the following
   services:

   •   Prepare and sign the 1998 Form 1120, Consolidated U.S. Corporation Income Tax Return, for
       Midcoast Energy Resources, Inc. and Subsidiaries.

   •   Prepare and sign the 1998 state corporate income/franchise           tax returns for Midcoast Energy
       Resources, Inc. and Subsidiaries.

   •   Prepare and sign 1998 federal and state extensions

   •   Prepare 1999 federal and state estimated tax payment vouchers

   •   Prepare quarterly and armual tax provision for the 1999 financial statements.

   We understand that the following information will be provided by Midcoast:

   •   Detail trial balance in a spreadsheet format on diskette for each legal entity,,

   •   Reconciliation and roll-forward of retained earnings from 1997 to 1998 for each entity

   •   Computation of depreciation expense for regular and alternative minimum tax purposes,

   *   Preparation of state income tax apportionment schedules of property, payroll, and sales by state for
       each entity,

   •   Other detail schedules as need to support and comply with federal and state reporting requirements.

  Should any unanticipated issues arise during the engagement wherein additional professional time may
  have to be expended and/or if you are unable to provide the required information and assistance listed
  above, we will mutually review the estimated fee to reflect additional services, if any, required of us to
  meet our deadline.

  Our fee estimate does not include time for accounting support, tax planning, consultation or special
  projects. Specific projects and consultations will be detailed in a separate engagement letter should the
  need arise at 65% of our standard hourly rates.




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          Access to Workpapers

          Any requests for access to our workpapers will be discussed with you prior to making them available to
          requesting parties.

          Fees and Billing Procedures

          The fee for our preparation of the'tax returns described in the "Scope of Services" section is $46,000.
          Any out-of-pocket expenses will be billed separately. Such expenses will include computer usage,
          postage, photoreproduction and similar expenses. Additional state returns will be charged at $650 per
          return.

          You will be billed for these services as work progresses will a final billing upon completion of the
          engagement.

          The amount of our fee described above is based on the assumption that we will receive the information
          requested on a timely basis as well as any required assistance from company personnel. In the event we
          believe an additional fee is required as the result of the failure of Midcoast Energy Resources, Inc. to
          meet any of these requests or for any other reason, we will inform management immediately.

           Other Matters

          Exhibit I contains the General Terms and Conditions which will apply to this engagement letter.




          PricewaterhouseCoopers   LLP

          By:     ::t_J\. ,_---                           Date:    q ] _ ]q5
                      ¢:I

          Accepted:

          By:                                             Date:




                                                                                                               MID2.3-7
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    June 16, 1999



    Mr. Blll Bray
    Mldcoast Energy
    Attention 32 ''d Floor
     1100 Lomslana, State 2900
     Houston, TX 77002



     Dear Bill

     Pursuant to our conversation,   please find the enclosed presentation   that provides a brmf
     description of Pro3ect Ruby

     We look fbrward to contactmg you m the next few days to answer any questions and
     discuss your interest m proceeding to the next step of the process as outhned on page 9.
     We intend to begin distributing confidentmhty agreements by the end of this week. In
     the meantHne, please feel free to contact us as hsted on the last page of the attachment

     Sincerely yours,




     Vean J Gregg 111




     cc
     Rick Betz
     JHn Bold
     Bill Mamas

     enclosure




                                                                                                    ENB-DOJ-035986
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     June 2 l, 1999



     Mr. Bill Bray
     Director, Business Development
     Midcoast Energy
     Attention 32 "d Floor
     1100 Lomslana, State 2900
     Houston, TX 77002


     Dear Bill


     Thank you for your interest m Kansas Pipeline Company     Attached is a Confidentlahty
     Agreement ("CA") for your signature. Upon recmwng a signed CA wa fax or courier as
     mdmated below, we will distribute the Confidentml Offering Memorandum        In the
     meantnne, please feel tree to contact Vean Gregg at 713-216-8848 or myself at 713-2 l 6-
     6386 with any quesnons or comlnents

     Address
     Chase SecurltmS Inc.
     Global Oil and Gas Group
     600 Travls Street, 20 th Floor
     Houston, TX 77002-8086
     Fax 713-216-8882


     We look forward to working with you.

     Sincerely yours,




     Bill Mamas
     Vice President

     cc: Chris Kmtson, General Counsel,   Mldcoast Energy

     enclosure



                                                            I _ GOVERNMENT lJ
                                                            I1_   EXHIBIT   II


                                                                                            ENB-DOJ-035981
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                                             CHASE

 Chase Securities Inc.
 600 Traws, 20 th Floor
 Houston, TX 77002



                                                                                                     July 1, 1999
  PRIVATE     AND CONFIDENTIAL

 Mr Bill Bray
 Director, Business Development
 M]dcoast Energy
 Attention" 32nd Floor
  I I00 Louisiana, Suite 2900
  Houston, TX 77002

  Dear Bill

  Chase Secuntms Inc. ("Chase") has been retained by The Bishop Group, Ltd. ("Bishop" or the
  "Co]'npany") as its finanmal advisor m connecnon with a possible sale of stock m Bishop, the 100%
  owner of Kansas P]pehne Company ("KPC")        O]1 behalF of Blshop, Chase Is sohc]tmg prehminary
  non-binding mdmatmns of interest m order to identff_ a hmlted number of partms to be invited to
  proceed with further due d]hgence actiwnes         The tnning and procedures for submitting an
  rod]canon of ]nterest are set forth below

  I.   The Confidentml Offering Men3orandum         Pursuant to the confidentml]ty agreement that you
       have executed and returned to Chase, you are being provided with a Confidentml Offering
       Memorandu]-n that contains certain business and financml reformat]on regarding KPC Chase
       will be available   to discuss the mformatmn          contained  m the Confidennal    Offering
       Memorandum and should be contacted if you have any questmns or requests for additmnal
       mformanon.   Neither Bishop, Kansas Pzpehne Company, nor any of their employees should be
       contacted &rectly by you, your staff, or your advisors.

  11. Structure   of Sale. The transact]on   will be structured   as a sale of the stock of Bishop

  111 Form of Indlcatmn         of Interest     Subsequent to reviewing tim Confidentml Offering
      Memorandum,      parties ]nterested m acqmrlng KPC must so advise Chase m a written non-
      binding letter of interest addressed to rather

                  Bill Mamas                                        Vean Gregg
                  Chase Securitms Inc.                              Chase Securmes     Inc.
                  600 Trav]s Street, 20 a' Floor                    600 Tmv]s Street, 20 _j'Floor
                  Houston, Texas 77002                              Houston, Texas 77002
                  Facsnmle (713) 216-8882                           Facsnmle (713) 216-8882
                  Telephone" (713) 216-6386                         Telephone   (713) 216-8848

       Please submit your written indication       of ]nterest by Wednesday,     July 2 I, 1999, no later than
       500 P.M. Central Standard Time.



                                                              [_ GOVERNMENT•
                                                              |_   EXHIBIT I


                                                                                                           ENB-DOJ-035983
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         Tile indication           of interest    should     include         the following

         (1)     a preliminary           non-binding          intimation         of     the    stock         and/or     cash     conslderatlon           that    the
                 prospective         purchaser,      based        oil the information                reviewed         to date,   would        be prepared           to
                 pay,

         (n)     the identity         of the      prospective         purchaser,         including           other     participants         in the     proposed
                 transaction,        if any,

         (111)   all Indication    of the source   and availability                             of     the     funds      that   would        be      utlhzed       to
                 consulnl_ate   the proposed acquisition.

         (iv) an outhne of addmonal                   information            reqmred      by the prospective               purchaser        in order     to make
              a defimtive acquisltmn                 proposal,

         (v)     an     estunate       of the      tune     and       a summary           of the        approwlls          and      any     other     conditions
                  (including       financing)       reqmred        to nqake a definitive               proposal        and to complete              the proposed
                  transaction,       and

         (Vl) the name             and telephone           number of the person                 Chase         should      contact     in responding             to or
              clarifying           the indication         of interest

  IV.    Selectmn    of Quahfied   Prospective Purchasers. After receipt   of the rod)cations     of interest,
         Chase will notify all parties who have subrnltted lndmatlons   of interest whether    or not IBishop
         will invite them to proceed with a fhrther rewew     Bishop, with the assistance     of Chase, will
         prowde      a hmlted   number    of parties access   to additional    confidentml   lnibrmatmn                                                  and the
         opportunity    to conduct   a fhl'ther ewtluatlou  of the operations,    assets and habllltles                                                of Bishop
         and KPC            Due dlhgence meetings  and lnanagel-nent                             presentations for qualifying                   parhes will be
         scheduled          by Chase and will begin July 28, 1999                                 Bishop eApects to receive                    firm proposals
         and enter Into negotmtions      with qualified  parties as soon as practicable      thereafter     Quahfylng
         parties will be provided      with a form of an acquisition        agreernent specifying     the terms upon
         which Bishop      is prepared     to enter into a transact|on       and the detmled     procedures    for the
         submission   ofdefimtlve     acqmSltlOn proposals     at a later date.

  Bishop         reserves    the right, in its sole discretion,                 to evaluate          the terms        and conditions          of any proposal
  submitted  and to accept or reject any such proposal      for further                                          consideration            wlthout      specifying
  reasons therefor and to alter or tenninate the process at any time

  Tile    existence         and     content      of this     letter    are    subject         to the    confidentlahty              agreernent        which      was
  previously           executed      by you and Bishop

  On behalf of _lshop,    we would like to thank you for your interest m KPC   Please                                                       do uot hesitate to
  call Vean  Gregg     (713-216-884g)   or me (713-216-6386)       with any questmns                                                         regarding    these
  procedures  or any other matter  Bishop                             and Chase         appreciate           your     interest   m this opportunity              and
  look forward to hearing from you

  Sincerely,




  Bill Mamas
  Vice President




                                                                                                                                                           ENB-DOJ-035984
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       "--"'                           "                                                                    y OP-
                         1.1.    Current Articles of Lncorporatton/Parmersh_p        Agreements

                                 a)     The Bishop Group, Ltd

                                 b)     Bishop Pipeline Company

                                 c)     Bishop Gas Transmasslon Company

                                 d)        Syenergy Plpehne Company, L.P Lumlted Parmershlp
                                           Certificate and Amended and Restated Llrmtcd Parmersh_p
                                           Agreement and Amendment No l

                                 e)        Kansas Plpelme Company Parmershlp              Agreement      i)'kfa
                                           P,.iverslde Pipeline Parmersh_p

                                 f)        P,avers_de Ptpelme Partnershap Agreement

                                 g)        First Amendment      to       Ravers]de   P_pehne      Parmersh_p
                                           Agreement

                                 h)        Kansas Pipeline Partnershap Agreement

               ,                 i)        First Amendment to Kansas P_pelme Partnershap Agreement

                                 j)        KansOk Parmershap Agreement

                                 k)        Ftrst Amendment to KanSOk Parmershap Agreement

                                 1)        Ravermde Pipeline Company, L.P. Cemficate           and Amended
                                           and Restated Agreement of Lirmted Partnership          of Ravers_de
                                           Plpehne Company, L.P

                                 m)        MarGasCo. Parmershap Agreement

                                 n)        First Amendment to Ma.rGasCo Parmershap Agreement

                                  o)       Mid-Kansas Partnership Agreement

                                  p)       First Amendment   to Mid-Kansas Partnersbap Agreement

                                  q)       Kansas Natural Partnership Agreement

                                  r)       F_rst Amendment to Kansas Natural Partnership          Agreement
                          1.2.    Current By-laws

                                  a)       The Bishop Group, Ltd.

                                  b)       B_shop Pipeline Company




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                               ] .8.    Capitalization/Stock          L_dgers and/or Stock Certificates

                                        a)               The Bishop Group, Ltd.

                                        b)               Bzshop Pipeline'Company

                                        c)               Bishop Gas Transrmssmn     Company

                                1.9.    Pu.rch_e of Partnershap Interests on August 8, 1997

                                        a)            Purchase of Chase Manhattan Capital Corporation (CMCC)
                                                      Partnershap Interests on August B, 1997 (SEE BINDER)

                                        b)             Purchase of EON-Syenergy   DR 17 Parmership Interests on
                                                      August 8, 1997 and Purchase of TCW's interest m Stock of
                                                      BGL and Release     of TCW debt against Bishop Gas
                                                      Transmission Company (SEE BINDER)
                                               ....                                                                                     I



                                1.10.    KN Energy, Inc. Sale Documents (sale of two (2) expansion                                 _"__..v_
                                         contracts and retention of certain easements) (SEE BINDER)                                           t_C)

                                1.11.    MarGasCo Parmersbap purchase of gas purchase and sale contracts
                                         from Petro Source Corporanon on September 22, 1998 (SEE
                                         BINDER)


                       _ - .... ;:':_:,t_'U:"g,_                                                    _- _- .. - ,. ..... _: -" :.
                                    2.1      Audited Financial      Statements (Fiscal 1996-1998)

                                         a) The Bishop Group, Ltd. (calendar years 1996-1998)

                                         b) Syenergy Pipeline            Company,, L.P. (calendar years t995,            I995
                                            and 1997)

                                         c)           MarGasCo   Partnership   (calendar years 1996, 1997 and 1998)
                                 2.2.     Unaudited Financial Statements

                                          a) The Bishop Group, Ltd. - First Quarter Ended 3/31/99

                                          b) S'yenergy Company Lmuted Partnership               - First Quarter Ended
                                             3/31/99 and 3/31/98

                                          c)          MarGasCo    Partnership - Fzrst Quarter Ended 3/31/99
                                 2.3      Federal and State Income Tax Returns for Fiscal Years 1995, 1996
                                          and 1997

                                          a)              The Bishop Group, Ltd.

                                 2.4.        Summary Fmanmal Data

                                             a)           Accounts Recmvable Detail for the periods ending 12/31/98
                                                          and 3/31/99 for Kansas Plpehne Operating Company,


                                                                                                                                   KPI2666
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                .A_2-_.    _Kansas"                          Pipeline Partnership, Mid-Kan_     Parmershap,
                ;- _--e-                             Kansas Pipeline Company, MarGasCo Partnership and The
                                                     Bishop Group, Ltd.

                                              b)     Summary of Syenergy Plpehne            Company,   L.P. - bad debt
                                                     expenence ending 12/31198

                                              c)     Summary of Kansas Pipeline Operating Company - prepad
                                                     expenses 12/31/98 and 3/31/99

                                              d)      Accounts Payable Detail for the periods ending 12/31198
                                                      and 3/31/99 for SPC Companies and The Bishop Group,
                                                      Ltd

                                      2.5.    Regulatory Annual Reports

                                              a)      Kansas Corporation     Comrmsslon     Reports   for        Kansas
                                                      Pipeline Parmersh_p for the years 1996 and 1997

                                              b)      Federal Energy Regulating Com.rmssmn Form 2, 1998
                                      2.6.    1995, 1996, 1997 Corporate Annual Reports for The Bishop Group,
                                              Ltd m Kansas; Bishop Pipeline Company m Kansas, Oklahoma
                                              and MJssouri; and Bishop Gas Transrmssion for Kansas

                                      2.7.    Syenergy  Pipeline      Company,       L.P.     Long-Term     Note      and
                                              Amendment

                                      2.8     Cre&t Agreement between Chase Manhattan             Bank and Syenergy
                                              Plpehne Company with amendments

                                      2.9     Amended   and Restated    Credit Agreement    between   Chase
                                              Manhattan Bank and MarGasCo Partnership with amendments
                                                                                                                                      /
                                      2.10    Tax DDA Forecast 1998 through 2017



                                      3.1.     Assets owned by The Bishop Group, Ltd. and/or its subadiaries

                                      3.2.     Assets excluded from transactmn                                                 t///
                                      3 3.     Miscellaneous    Equipment and Telephone Leases/Agreements

                                      3.4      Master Eqmty Lease Agreement      and coples of vehicle         leases and
                                               titles

                                      3.5      Reglstratmn     of 1973 Cessna Golden Eagle 421B and Promissory
                                               Note




                                       4.1.    Rebuild Estimate fiom Panco       Stewart       and Stevenson     -   dated
                                               1/23/96 for Kansas Pipehne

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     -         4.15     Kansas Plpehne Company Emergency Response Manual
 =             4 16     Internal Memo   dated   7/17)94      re:   KCC   Informauon     Request
                        concermng compressor inspections
               4.17     Federal Energy Regulatory     Comrmsslon Tariff for Kansas Pipehne
                        Company

               4.18.    Copy of The B_shop Group, Ltd Employee Pohcles and Procedures

               4 19     System Map

                        a) D'etaJled system map setting forth interconnects,     dehvery    and
                           receipt points, MAOP

                        b) Bishop System Schematac

               4.20.    Assignment of all Assets to Kansas Pipeline Company

                4.21    Utter    & Assocmtes,      Inc. Pipeline   Summaries   Estmaated
                        Replacement Costs and Remaining Life Assessment of KansOk
                        Partnersl-up and Riverside Pipeline Company, L.P dated March 29,
                        1995

                4.22    Utter   & Assocxates,    ]_nc Plpehne   Summaries     Estimated
                        Replacement Costs and Remaining Life Assessment of Kansas
                        Natural Partnership and Kansas P1pehne Partnership dated March
                        29, 1995

                4.23    Year 2000 Statements        Issued   and Received   regarding    Kansas
                        Pipeline Company

                4 24.   K.PC Annual Report FERC Format #567 for 12 mo. Period ending
                        t 2/31/98



                5.1.    Exlsung Corporate OfficeLeases                                                 V ,,/
                5 2.    Lease Agreement between Kansas P_pelme Company                  and Jack
                        Bennett, dated 11/30/90 (Ottawa Shop Lease)

                5.3     Lease Agreement between Bryan and Kansas Pipeline Company,
                        dated 11/1/95 (Medicine Lodge Shop Lease) and a Lease between
                        Landwehr and Kansas Pipeline Company dated November 1, 1995




                6.1(a) Debt/Financing Agreements     - Syenergy Pipeline Company, L.P.
                       Long-Term Note and Amendment [See Attachment A for complete
                       index to the Syenergy Plpehne Company, L.P. Long-Term Note and



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        .-'--"g-                     dated November     1, 1994; Letter dated March 17, 1995[
         :'--+-                      suspending Seasonal Exchange for the penod; Letter dated
                                     October t0, 1995 re:     period adjustments; Gas Purchase
                                     Contract dated September    1, 1997, Amendment ffI to the
                                     ._'nended and Restated Agreement of Lease and Amended and
                                     Restated Operating Agreement dated April 1, 1999

                                           (1) Settlement Agreement

                               j)    M2ssoun Gas Energy Contracts

                                           (1) Riverside     I Agreement        - 46,332 MMB&U    (effective
                                               5/11/98)

                                           (ii) Mid-Kansas 12 Agreement - 46,332 MMB&U (effective
                                                6/1/95- 5ll 0/98)

                                k) Kansas    Plpelme   Company's    Index              of   Customers    and          /
                                   Transportation Contract Summary.                                                   b/
                                1) Interconnect Agreements wath Kansas Pipeline Company

                                     _.)   Interconnect Faclhty Operating Agreement Kansas Power
                                           and Light Company n/k/a MGE dated December 4, 1989
                                     n.)   Interconnect Faclhty Operating Agreement            with Umted
                                           Crees Gas Company dated June 22, 1990

                                     ill.) Operating Agreement       with Umted Crees Company           dated
                                           May 1, 1995

                                     iv.) Delivery Famhty Construction, Ownership and Operating
                                          Agreement with Getty Gas Gathenng, Inc dated September
                                          13, 1996

                                     v.)   Interconnect Facility Operating Agreement wath Kansas
                                           Power and Light Company dated July 17, 1986 and
                                           Supplemental Agreement dated November 10, 1987

                                     vi.) Interconnect-ion Agreement   between  ANR     Pipeline
                                          Company and KansOK Partnerstnp dated October 14, 1994

                                     vii )Ren-nbursement,    Consmaetlon, OwnersMp and Operatmn
                                           Agreement between Panhandle Eastern Pipeline Company
                                           and Paver'side Pipeline Company, L.P., Miami County, KS
                                           dated July 25, 1996

                                     vni )          Facihnes       Interconnecnon       and    Relmbursment
                                            Agreement between Panhandle Eastern Pipeline Company
                                            and Kansas Pipehne Company dated February 15, 1991
                                      tx ") Operauon       and Maintenance      Agreement between Panhandle     I
                                                                                                                I


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_:_}                         EasternPipeL,ne Company andKansasPipehneCompany
                             dated February 1, 1991

                     m) Interruptible      Transportation    Agreements        of Kansas    Plpehne
                        Company

                           i.)          Atmos Greeley Gas Company dated June 1, 1998

                           il.)         Atmos United ClOes Gas Company              dated June 1,
                                        1998

                           ifi.)        Ma_rGasCo Partnersbap dated June l, 1998

                           iv )         Oneok Gas Marketing Company dated September                   1,
                                        1998

                     n) Opemtaonal Balancing Agreements

                            1)          Panhandle Eastern Pipe Line Company at Phemx and
                                        Kansas P_pehne Meters

                             ii)        Panhandle Eastern Pipe Line Company at Mastergas

                             ui)        ANR Pipeline        Company       at    Lovedale     Kansok
                                        Interconnect

                             iv)        Mid Continent Market Center

                             v)         Getty Gas Gathenng

                      o) Summarylist        of MarGasCo      Contracts

                             l)         January,   1999     report   summarizing      Gas    Futures
                                        Account   Actlmty, New Customers         Added           and        t//./"
                                        Estimate of Gross Profits for follov_amgmonth

                             n.)        February,  1999 report summarizing       Gas Futures
                                        Account   Acnv_ty, New Customers         Added and                  C/"/_
                                        Estimate of Gross Profits for following month.

                                 m.)    March,   1999 report summarizing        Gas Futures
                                        Account   AcOvlty, New Customers         Added and
                                        Estimate of Gross Profits for following month.

                                 iv.)   Apnl, 1999 report summarizing Gas Futures Account                   f
                                        Act_vlty; New Customers Added and Estlmate of                       t//
                                        Gross Profits for following month

                                 v.)    May, 1999 report summarizing Gas Futures Account
                                        Activity, New Customers Added and Estimate of                       t./
                                        Gross Profits for following month

                                 vl.)   June, 1999 report summarizing Gas Futures Account                       ./'
                                        Acnvity; New Customers Added and Estimate of


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                                       Gross
                                           ro tsforfono hg
                       p) Shared Repeater Subscription Agreement

                       q) Mobile PhoneYPager Agreements

                       r)   Radio Station License



          8 1          Environmental    Letters

                 a)    Letter from 'State of Mxssoun, Department of natural Resources
                       dated 6/24/94 regarding ]]3 numbers for Hazardous Waste Acn,Aty

                 b) Letter  from State of Kansas, Deparmaent of Health and
                    Environment    dated 6/9/94 regarding Notlficataon of Hazardous
                    Waste Activity

                  c)   Letter from State of Kansas Department of Health and Environment
                       regarding Pelzoleum Storage Tank Plan for Beaumont Compressor
                       Statmn dated 9/11/90

                  d) Letter from Franklin County Health Department County Sanitanan                  '
                     dated July 31, 1990 regarding septic tank

                  e) Letter from Kansas Deparmaent of Health & Environment                  dated
                     7/20/90 regarding petroleum storage tank plan

                  f)    Compressor StaUons Noise Study prepared for K.PC by Bus-ns and
                        McDonnell m March, 1997 w,th Letter flom Heller, Ehrman to
                        FERC on May 17, 1999 setting forth comphanee             on noise levels,
                        L_st of altemanves for noise reductmn measures.

                  g) Environmental      Assessments

                              1.)      Envaronmental       Assessment       of     the     Phemx
                                       Transmission    Company          for   Bishop    Pipeline
                                       Company by Environmental         and Safety Servaces, Inc.          j"
                                       dated September 27, 1989

                              il.)     Supplement to the Environmental        Assessment    of the
                                       Phenix Transmission Company for B_shop Pipeline                     ,I....i
                                                                                                           g,/
                                       Company by Environmental and Safety Services, Inc
                                       dated October 16, 1989

                              lil.)    Prehrmnary      Environmental     Review     for    KansOk
                                        Plpehne by Envaronmental       and Safety Servmes, Inc.
                                        dated April 18, 1990                                               c./         ,/


                               iv.)     Environmental Risk Assessment of Kansas Plpehne                         /
                                        Company and Kansas Natural, Inc prepared for                            c,,"


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         .= "   .........                       Vmso-n and Elkans dated ?,lay, 1990

                                         v.)    internal   Memorandum      dated June          24,      1991
                                                addressing Pllko Report recommendations

                                         vi.)   Envu'onmental     Assessment   of   Syenergy         Plpehne
                                                Company, L.P prepared by Pilko & Associates, Inc                    /
                                                dated May 22, 1992                                                  v/
                                         vn )   Addendum     to   Environmental   Assessment    of                      /
                                                Syenergy Pipeline Company, L.P. prepared by Pilko                       t/
                                                & Associates, Inc dated May 22, 1992 dated 5/29/92                           t



                      - 8.2        Apphcanons/Permats/Approva_s

                              a) Part 70 Penmt Appkicahon for the KansOK Partnershap, Pawnee
                                 Compressor Station, Pawnee County, OK, September 1996 and
                                 Authorization to Operate effective 9/11/98

                              b)   40 CFR Part 70 General Operatmg Permit Applicahon                 for the
                                   Kansas Pipehne   Parmershap, Beaumont Compressor                  Station,
                                   Greenwood County, Kansas, October 1996

                               c) 40 CFR Part 70 General Operating Penmt Apphcation                  for the
                                  Kansas Pzpeline Parmersh_p, L.P., Ottawa Compressor                Statmn,
                                  Franklin County, Kansas, October 1996

                               d) Class I Operating Permit for Beaumont Compressor        Stauon Issued
                                  7/31/97

                               e) Class I Operating   Perrmt for Ottawa Compressor       Stauon        issued
                                  7/31/97

                               f) Pawnee Compressor Stauon Serm Annual Report for Authonzatlon
                                  No 96-404-TV for Air Quality Dlvlmon

                               g) Aar Emissions Inventory Forms subrmrted to Kansas Department of I
                                  Health and En',nronment, Bureau of Air and Radiation on May 25,
                                  1999 (2 reports for Ottawa Compressor Station)

                               h) Annual Emission Inventory forms for Pawnee Compressor Station
                                  subrmtted to Ermssmns Inventory and Fee Development Unit, Air
                                  Quality Division, Oklahoma Dept. of Environ.mental Quahty on
                                  March 29, 1999

                               1) Annual reports (Summary of total operating hours per locauon per
                                  Title V permit requirements for Ottawa Station, Beaumont Stahon)
                                  submitted on May 25, 1999 to Kansas Department of Health and

                                                                                                          KP12672

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-..--v:.. :                            Enwronment., Bureau of A_r and Radaanon

                             j)        Annual Compliance Forms for Ottawa Stauon-and        Beaumont
                                       Stanon submitted on May 25, 1999 to Kansas Deparmaent of Health
                                       and Environment, Bureau of Air and Radiation

                             k) Johnson County            Industrial    Sohd    Waste   disposal    Authonzatlon
                                dated 1/19/96

                             1) Butler-Greenwood   Bi-County                Health Department      sewage   facihty
                                consu-uctmn approval

              t              m) Letter dated 5/20/96 from Kansas Department                        of Health    and
                                Environment regarding Permat No. I-WA23-N001

                             n) Letter from Office of Zomng Admimstration                          dated    6/20/90
                                regarding Septac System/Building perrmt 276

                              o) Leuer from Kansas Department of Health & Envaronment                          dated
                                 9/1/95 regarding Kansas Water Pollution Control Permit No


                  9.      Human Resources

                       9 l Organization       Charts (Job Titles for all Employees)                                         [//"

                       9 2 Employee List with Compensation                                                                  t,/'"    V"
                       9.3. Benefits

                              a) MechcalfDental

                                       I)   Medical Plan Summary

                                       i0 Group Dental Plan Summary.

                              b) 401(k) Plan Descnpnon              and Corm-acts

                              c)        LlfedAccldental Death and Dismemberment           Summary

                                  d) Long-Term Dlsablhty Insurance Summary

                          9.4 Employee Manual

                          9.5 DML Employment             Agreements

                                  a)    The Bishop Group, Ltd.

                                  b) Management        Resources Group, Ltd                                                 /
                                  c)    Consohdatmn     and Amendment          of Management       Agreement       and
                                        Employment      Contracts    with    The Bishop    Group, Ltd.       and      its       /
                                        subsidiaries

                                  d) Syenergy Plpehne Company, L P                                                              V/


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-_-           10.5.   List of regulatory proceedings m Wtuch Kansas Plpehne Company is an
- -                   mtervenor or party

              10.6    Key Orders and pleadings granted m Kansas Corporation Cornmassion
                      (KCC) and Federal Energy Regulatory Comrmsslon Dockets

                      a) Trial Bnef of Kansas Plpehne Parmersbap and Kansas           Natural
                         Partnership dated December 19, 1994 with Appendix

                      b) March 17, 1995 KCC Order Regarchng Application of KPP/KNP

                      c) June i6, 1995 KCC Order

                      d) November     6,   1995   KCC    Order      Regarding   Petitmns   for
                         Reconslderatmn

                      e)   December 30, 1996 KCC Order on Remand

                      f)   March 5, 1997 Irtitlal Comments ofRPCLP m FERC Docket

                      g) March 25, 1997 Reply Comments ofRPCLP m FERC Docket 1

                      h) October 3, 1997 FERC Order Granting and Denying Reheanngs,
                         Issmng Certificates and Establishing Refunds

                      i)   November 3, 1997 Request     for Rehearing     of KPC, KPP, K_P,
                           tLPCLP and KPOC

                      j)   Apnl 29, 19_)8 FERC Order on Rehearing
                      k) Apnl 2, 1999 FERC Order

                      ])   June 18, 1999 FERC Order

                      m) Accounting    Order of Kansas Pipeline Parmersbap issued October
                         30, I991

                      n) Accounting Order of Kansas Natual Parmerstup issued Octob'd" 30,
                         1991

        11.      Insurance/Risk Management

                      a)    Summary of Insurance Coverage for Combined Property, Business
                            tnterruptmn and Botler Coverage; Commermal General Liabihty,
                            Business Automobile, Workers' Compensation, Excess Liabihty                   /
                            and Binders for Coverages

                      b)    Loss Reports for Workers Compensahon _'d Automobile            for           ,J
                            policy periods 7/1/96 to 7II/97 and 7/1/97 to 7/1/98                         V"




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                                                                                                                  Chief        F_nancJal            Officer                                                                             R_'GU_J_TOR't AFF^,._;
                                                                                                                             and     Treasurer



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  SANTA    MONIC.A_  CJ_LIFORNIA                                                                                       ASSOCIATED     OFFTCE  IN          SHANGHai

      IFIVINf"   C_LIFCIRNIA                                           (816)       374°3200


                                                              FAC_IIMtLI_-       (B   16)     374-3300


       DIANNA         L    WOOD                                                                                                  {8 I a}   374-3200
         LIGAL      ASIIITANT




                                                                       August l 0, 1999

                 Via FedEx

                 R N Lanmngham
                 Madcoast Energy Resources, Inc
                 1100 Lomsiana
                 State 2950
                 Houston, TX 77002

                                         Re     Kansas P_peline Company

                 Dear Mr Lanmngham

                                         We enclose copras of the following documents which you requested from the data
                 room

                                         l      8 l(g)(0-(vli)

                                         The following
                                                     coprasarcforRJchardRobert

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                                         If you need addmonal documents, do not hesitate to call me or Wesley Fmlds

                                                                                 Very truly yours,


                                                                                 Dlanna L Wood
                                                                                 Legal Assistant
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      IRV_NF.   C.ALIFORNIA                                                 (B I   6)     374-3200


                                                                  F'AC:SIMII.¢:         (81     (5)    374"3300


       DIANNA           _ WOOD                                                                                                                (810)     374-3200
         _.¢GA6       _$1StANt




                                                                            August 10, 1999


                  Via FedEx

                  Bill G Bray
                  M_dcoast Energy Resources, Inc
                  1100 Lomsiana
                  State 2950
                  Houston, TX 77002

                                        Re     Kansas Pipeline Company

                  Dear Mr Bray

                                        We enclose copies of the followng documents which you requested from the data
                  room


                                        1      7(o)(i)- 7(o)(_)
                                        2      7(k)

                                        The following copies are for Chip Berthelot

                                        1      92
                                        2      9 5(a)-(d)

                                        If you need addit,onal documents, do not hesitate to call me or Wesley Fields

                                                                                        Very truly yours,




                                                                                        Dmnna L Wood
                                                                                        Legal Asststant
                  Enc                                                                                                                 KPI2676




                                                                                                                                                      ENB-DO]-022796
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                                                                                   DRAFT
                           MIDCOAST ENERGY RESOURCES, INC.
                              BOARD OF DIRECTORS MEETING

                                        August 11, 1999




           ATTENDANCE:          I.J. BerthelotII (*)       Bruce Withers (*)
                                Richard N. Richards (*)    Ted Collins(*)
                                Dan C. Tutcher (*)         Richard Robert
                                CurtisDufour (*)           Duane S. Herbst
                                (*) Members
    I.     CALL TO ORDER

            The meeOngwas called to order at 11:45 p.m. by Chairman Dan C. Tutcher. All members
    of the Board were presenL Also present were Duane S. Herbst, Vice President of Corporate
    Affairs and Secretary, and Richard Robert, Chief FinancialOfficer and Treasurer.

    I1.    MINUTES

            The reading of the prior meeting's minutesw-aswaived and itwas moved and seconded
    that the minutes fromthe Board meeting on May 17, 1999,be accepted,which was unanimously
    approved.

    III.   CORPORATE MATTERS

           A.     Stock Offerinq

                  Mr. Herbst informed the Board that Capital Guardian now owns 1.1 million
           shares of the Company stock and are the single largest shareholder at this point.
           Currently, 62% of Midcoast stock is held by institutions and the rest is retail. He
           noted the Company has had some strong support from its institutional shareholders
           since the offering.

           B.     Manaqement Chanqes

                    Mr. Tutcher announced to the Board that Lou Marinos who was the President
           of Midcoast Interstate Transmission in Alabama has been moved to the Houston
            office. MIT is now running smoothly and the transition to Houston has been made
           for the marketing, gas control, engineering, etc. departments that were in Alabama.
             It was decided that Lou Marinos would be transferred into the Houston office and
            recommended that he be made Vice President of Administration, with his primary
           job to take some burdens away from Richard Robert, Chip Berthelot and Dan
           Tutcher in terms of trying to pull together and assimilating the employees from our
           various acquired companies.


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                Bill Bray was also recommended to be made Vice President of Business
         Development. Mr. Bray is very analytical, conservative and has with Midcoast for
         nine years and knows the company extremely well.

               Mr. Tutcher requested a motion creating these two posts and assigning Mr.
         Marinos and Mr. Bray those assigned positions. It was moved, seconded and was
         unanimously approved.

         C.    Review Insurance Coverage

                Mr. Robert reviewed the insurance coverage for the Company. He advised
         the Board that the market is tightening and it would benefit the Company to lock in
         a three year term. For the most part, the Company is currently self insured for
         property. The Board recommended Mr. Robert pursue insurance for the Calmar
         Plant, the Harmony Plant and any other plant that would take over 90 days to get
         back online with a business interruption policy. Mr. Robert noted the umbrella
         policy is now at $35MM, but the Company has grown substantially since that policy
         was put in place. Mr. Richards advised that he had researched the current average
         coverage and felt $50-$100MM would be more appropriate. It will cost $50_M
         for an additional $65MM in coverage and it was recommended that $100MM in
         coverage be pursued.

    IV   New Business

         A.     Kansas Pipeline

                  Mr. Tutcher reviewed the background of Kansas Pipeline. This pipeline was
         formerly three separate systems. Two Phillips crude oil lines were converted to
         natural gas service, one of which runs from the western part of Oklahoma
         (Anadarko) and one of which runs from north central Oklahoma to a point around
         McPherson, Kansas and then on to serve the city of Kansas City and.a number of
         smaller municipalities along the way. These two crude oil systems were converted
         by different groups and the lower part, or gathering part of the system, was
         originally put together by John Connolly and a group in Houston. Once in service,
         this system was competing heavily with Williams, so Williams forced them to certify
         with FERC as an interstate pipeline and file a rate case which is now pending. The
         line is fully subscribed to today.

                This line is owned by Dennis Langley who was the Chairman of the
         Democratic Party in Kansas and is very active politically. He has $60MM in
         debentures outstanding with the balance being equity. There are four others
         bidding for this system, Consolidated Michigan, ONEOK/Westem Resources,
         Oxbow (David Koch), and Kinder Morgan. Mr. Tutcher believed that one bid was
         approximately $225MM, with two other bids of about $196 million and $175MM.


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         Our initial bid was $157MM, but we now understand the rate case better and have
         identified additional synergies. A group representing Midcoast also attended a
         presentation by Mr. Langley to promote the upside of the Kansas market. Mr.
         Langley prefers doing business with our Company because we would continue to
         work with him on his other projects. Mr. Langley prefers a cash deal and the
         debentures can be assumed making a cash offer of $110-115MM.

                Mr. Berthelot describes the line as being 900 to 1,000 miles long and runs
         from the Texas/Oklahoma supply areas close to Anadarko. It has 158MM/day of
         firm capacity sold and it delivers the gas to the Kansas City market place. In the
         summertime it moves 20-30MM/day. There are three major customers and the
         system has three compressor stations. The pipelines were built between 1930 and
         1950 and they were refurbished, retested and upgraded in late 1980's. The major
         customers are the Cities of Kansas City and Wichita and certain synergies exist
         with regard to the Owens Coming and BPU Quindaro systems as well as with the
         Anadarko system on the supply side.

                No recommendation or approvals were being sought at this time, but Mr.
         Tutcher wanted the Board to be advised of this pending transaction.

         B.     East Tennessee

                 Mr. Tutcher advised the Board that this system is probably going to be spun
         off through the El Paso/Sonar merger. The order of magnitude is probably between
         $350-$400 million. This system is going to be very competitive and be a fast paced
         transaction once they are ready to get the sale done. We have been a good
         partner for El Paso and have bought a number of systems from them. They trust
         Midcoast because we can finance and close it. Also, the other buyers for the
         pipeline will likely be competition for El Paso whereas we would still use them as
         a major supplier upstream.

         C.     Bazor Rid.qe

                 Mr. Berthelot advised that we are in the final stages of contract negotiations,
         subject to Board approval, on a 20 MMCF/day gathering system and central
         treating and processing plant near the Harmony Plant. The system and plant serve
         a major new gas find in the area and under the current structure the producer would
         guarantee Midcoast certain volumes backed by a guarantee from the Hillman
         family, which management is comfortable can back the guarantee.

                Discussion followed on the economics and Mr. Berthelot reviewed the
         analysis he prepared. After more discussion concerning the guarantee, and
         reserves, it was moved, seconded and was unanimouslyapproved.



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        D.      Southern Industrial Gas Acquisition

               Mr. Berthelot advised this is a small company which has about 14 end-user
        type pipelines. We have pursued them for a couple of years, and it ovedays the
        Midla system in different places of Mississippi and Louisiana. The deal was within
        management authority and has already been closed, but he wanted to inform the
        Board of it.

         E.     Bags, Gi.q.qs& Brazos Offshore Acquisition ISeaCrest)

               Mr. Berthelot advised that between the time an initial offer was made and
        accepted there has been some new production on this proposed system. He
        reviewed this was a $2MM acquisition which falls within management's approval
        threshold. It is a 35-40% rate of return project with the new development well. If
        for some reason this development well, which is scheduled to come on at
         10MM/day, does not produce, it is an 18% rate of return project.

               After more discussion, this acquisition was approved, seconded and was
         unanimously approved.

   V.    Old Business

         A.     Guanajuato, Mexico

                 Mr. Tutcher explained that if the Company can reach agreements with
         American Axle, General Motors and Maseco, this would amount to a ten year 8.5
         mmcf/day commitment with those three customers, even without the new LDC which
         has committed to TransCanada. TransCanada has fired their chairman and are in
         turmoil. They are about to sell off most of their Canadian plants, and have sold off
         some of their U. S. assets. Mr. Tutcher believes that they are probably going to
         back completely out of Mexico. This would mean that our competition on this
         project is probably going to go away and we would end up with the LDC. With the
         LDC this is an 18-20% rate of return project. The current economics, presented to
         the Board, only include the 8.5 mmcf/day.

                (Ted Collins left)

                 Mr. Tutcher noted we have the only public right of way and will be closing on
         that in the next two or three weeks because the phone company is also looking at
         that right of way. Otherwise, he would keep the Board informed.




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           B.     Canada

                    Mr. Berthelot advised the Calmar system is going as scheduled, but Probe
           is in financial trouble and they are for sale. Our legal counsel has advised that we
           are in good shape with our guarantees and other contractual arrangements.

                 Jimmy Wright is working on other deals in Canada and some discussion
           came up as to whether we should be considering taking on a financial partner in
           Canada.

           C.    Anadarko

                   Mr. Berthelot advises that all of the compression upgrades have been done,
           but there are some accounting and measurement problems to get resolved. Two
           joint ventures are in the works, one with Williams and one with Dynegy, both of
           which involve rolling together processing assets.

           D.     Chevron

                 Mr. Berthelot advised that the B.P. Alliance refinery is adjacent to the Gloria
           System we purchased from Koch. It looks like a deal has been made with B.P. to
           them 15MM/day gas with about an $.08 or $.09 spread.

    Vl.    Financial Review

                  Mr. Robert briefly reviewed the financial results for the past quarter and
           answered questions from the Board on the past quarter as well as the outlook for
           the balance of 1999.

    VII.   Adjournment

                 There being no further business it was moved and seconded that the
           meeting be adjourned.

                                                     Respectfully Submitted,




                                                     Duane S. Herbst, Secretary




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                                             THE     BISHOP       GROUP,       LTD

                                                      8375Lenexa Drwe-Sulte 400
                                                          Lenexa,Kar,.sas
                                                                       66214
                                                    (9L3)8887139/ Fax(9L3)5995645




             August 17, 1999

             VIA OVERNIGHT MAIL


             Richard A. Robert
             C_ef Financial Officer and Treasurer
             Mldcoast Energy Resources, lnc
             1100 Louistana, Suite 2950
             Houston, "IX 77002

             Dear Rachard,

             Enclosed are copies of the Parmership ORS Form 1065) and Missouri income tax returns for
             1995, 1996 and 1997. These returns support The Btshop Group, Ltd income tax returrts provided
             as pan of the pre-c,opted material during your August 9 vasit to Kansas City and were
             unmtennonally otmtted fIom Data Room document 2.3(a). I hope these documents make the
             consolidated B:shop Group returns prevaousty provided more understandable

             Accordmg to my notes, this completes the mformalaon/documents you requested from Howard
             and me Please let me know ffyou have any addmonal questaons




             Stephen Korb
             ProJectAnalyst
             The B_shop Group, Ltd.




                    '                           _                                           KPI2664 ENB-DOJ-022779
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                                                         BRYAN                      CAVE                    LLP
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       W_HINGTON               D C                          3500      ONE          KANSAS       CrrY       PLACE                   RIYAOH           _;AUDI     ARABIA
     NEW    YORK        NEW     YORK                                                                                                KIJW_IT         CITY,      KUWAIT
  JEFFF_R_ON        CITY.  MISSOURI                                  1200          MAIN     STRfI£T                        ABU  OHABI    UNIT_E)   ARAB   EMIRATES
   O_'ERL..AND      PARK    KANSAS                                                                                            DUBAI   UNITED     ARAB  EMIRLA.TE_
        PHOENIX        ARIZONA                          KAN_IA_I   CITer ",   MIS_URI            6_    101:;-2     I (30                 HONO    KONG
  SANTA   MONIC..A,  CALIFORNIA                                                                                             AS_;C'CIATI_D       OFFICE         IN   SHANGHAI
      IRVINE    CALIFORNIA                                            {e    115)     374-3200


                                                             FACSIMILI[            (816)        374-3300


       DIANNA          L     WOOD                                                                                                      (8   I (5)   374-7705
         L¢(_AL     _*-_llllS TAPIT




                                                                      August 19, 1999


                  Via FedEx

               Don Wittmgton
               Midcoast Energy Resources, Inc
               1i00 Louistana, Suite 2950
               Houston, TX 77002

                                       Re     Kansas Pipeline Company

                  Dear Mr Wittmgton

                                Pursuant to Tmo Monaldo's mstmcttons, enclosed please find a copy of the Index
                  of UCC Filings Relating to the Butcher Interests for your review

                                       If you need additional t_ormation, do not hesitate to call me



                                                                                   Very truly yours,




                                                                                   D_anna L. Wood
                                                                                   Legal Assistant

                  Enc




                                                                                                                                    KPI2661




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Case 4:06-cv-00657 Document 23-12 Filed on 07/31/07 in TXSD Page 73 of 100




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   NEW   YORK        NI[W    YO_K                                                                                                                  KUWAIT    CiTY      KUWAIT

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 OVERLANO        PARK.       K.ANSA_R                                                                                                       DUBAI    UNITf.D    ARAB     F-HtRATE$

      PHOENIX    ARIZONA                                     K,A_I/_I     C1¢'1",     MIS_IOURI            _4     106-2     | O0                         HONG   KONO
SANTA   MONIC.A.   CALIFORNIA                                                                                                             ACSOC2JAT[[D     OFFICE   IN      SHANOHAI

    IRVINE.      CALIFORNIA                                                  (_     I 6)      374"3200


                                                                    FACSIMILE:              (81e)        374-3300


     DIANN&          L   WOOD                                                                                                                        (810)      374-7705
       LtGAL     AIIII    TAPlT




                                                                             August 20, 1999


               Via FedEx

               Bdl G Bray
               Madcoast Energy Resources, Inc
               1100 Louis,ana, State 2950                                                                                          - ,
               Houston, TX 77002

                                        Re     Kansas P_pehne Company

               Dear Mr Bray

                             Pursuant to your request to Vean Gregg, we enclose copies of the following
               documents from the data room. The document numbers correspond w_th the Data Room Index

                                        [      45
                                        2      48
                                        3      413
                                        4      7(n)(i)-(v)

                                        If you have any addmonal requests, do not hesitate to call me



                                                                                             Very truly yours,

                                                                                                                     _,,',....
                                                                                                                          ,kL_

                                                                                            Drgnna L Wood
                                                                                             Legal Assistant

               Enc



                                                                                                                                               Kp12662




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                                       KANSAS             PIPELINE           COMPAN_
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          ,'_gustzx                     9,7 _.       ;_         • _.x   o_     _o      :.:_


          Mr Richard A Robert
          Cl'uef Fmancml Officer and Treasurer
          Mldcoast Energy Resources,   Inc.
          1100 Louisiana, Suite 2950
          Houston, TX 77002

          Dear Richard,

          Please find the attached responses to the two data requests you asked m the August 20 voice mall
          message. Based on the information avadable, I have prepared a bnef summary of property taxes
          for 1998 and 1999 Shown Js the actual property taxes paid m 1998 by state .Also enclosed are the
          property tax assessments for 1998 and 1999 Please note that m 1998, KPC stall paid tax on the
          mdiwdual parmerslups     As such, RJverslde paid tax m Oklahoma, Kansas and MIssoun Kansas
          Pipeline paid tax m Kansas and KansOk paid tax m Oklahoma Therefore, to calculate the total
          assessment m Oklahoma and Kansas shown in the spreadsheet, Raverslde has to be added to
          Kansas Pipeline for Kansas and KansOk for Oklahoma Effectwe m 1999, KPC began subm,ttlng
          consolidated assessment returns for the entire system tn each state Also note that that to date KPC
          has not received the 1999 assessment for Kansas


          In response to your second request, I have provaded the actual and budgeted Operattons Dw]slon
          capital expenditures for 1995 - 1998 For 1998, the remaining $3 4 rrulhon of capital expenditures
          consist entirely of FERC Sect,on 7 costs, Project Development and other assets included on the
          retained asset schedule prevaously provided Routine Operations capital expenditures       m 1997
          totaled $206,885    Construction of the small town facdiues totaled $3,657173 (see P700 Project
          Expenditure Summary) The combined total equates to 1997 additions to utility plant Operataons
          capital expenditures totaled $356,186 in 1996 Operations capital expenditures totaled $617,996 m
          1995,

          Let me know ffyou have additional questions




          Stephen Korb
          Financial Analyst
          Kansas Pipeline Company


                                                                                               KPI2717




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                                           KANSAS            PIPELINE           COMPAN_
                                            ,_1'_    LE_E',,_,     DRIXE    "   ":UiTE     .




           August23,     1999                ol_ sb,       :_,o    . _x    ......         --_,

           VIA FED EX


           Mr. Richard A. Robert
           Chief Fmanclal Officer and Treasurer
           M)dcoast Energy Resources, Inc.
           1100 Louisiana, Suite 2950
           Houston, "IX 77002

           Dear Richard,

           Pursuant to an e-mail request from Bill Bray to Vean Gregg that was forwarded to me, #ease            find
           enclosed Syenergy financial statements        (unaudited) for the szx months ended J.u_ 30, 1999.

           Regarding the other three requests"

           1.   Detatled trial balances (6/30/99),    1 should be able to pull them together tomorrow for overnight
                delivery Wednesday.

           3     1999 Kansas ad valorem rencht_on As mentioned tn my August 21 letter, we have still not
                recezved the Kansas 1999 rendition Data on Oklahoma, Missoun and 1998 actual has been
                provided

           4    Tax Sm_cture. I will attempt to contact our E&Y person tomorrow and arrange a conference
                call ASAP I will contact you today (Tuesday 8/24) to confirm status




          Stephen Korb
          Fmanctal Analyst
          Kansas Pipeline Company


          cc    Bill Bray VIA FAX




                                                                                                       KPI2731




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                                                KANSAS            PIPELINE                 CO,M     PA_'_

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                                                         LENEXA            _:aNSaS         0_:14

                                                 g_]     _88    71)9       "   FAX   91J     59 _    ?_73




                                                                  August 26, 1999

                   VIA OVERNIGHT        M.ZlL


                   Mr Chris Kaatson
                   Mldcoast Energy Resources, Inc.
                   1100 Louisiana, Suite 2950
                   Houston, TX 77002

                   Dear Mr. Kairson:

                   Mr. Bill Bray requested that you be provided with copies of items 9.5 (a) through (d) and 9.6
                   (a) and (b) from the dataroom located at the law offices of Bryan Cave. I5you should have any
                   quesnons, please advise.

                   Sincerely,



                   Kansas Pipeline _pany



                   VLcePresident, Administration




                                                                                                             KPI2762




                                                                                                             ENB-DOJ-022882
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     I   Case 4:06-cv-00657 Document 23-12 Filed on 07/31/07 in TXSD Page 77 of 100
           Yvetle Korb - Mzme 822 ...........                                                                              Pa 9




                             Pteaseprovidethe agreementslisted In the Data RoomIndex9 5 a) through
                             d) and 9 6 a) and b) Pleasesend to our Houstonoffice to the attent_onof
                             Chris Ka_tsonandcopy me w_ththe transmrttalletter

                             Thanksagain for you assistance




                                                                                                       KPI2763




                                                                                                          ENB-DOJ-022883
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               Received from gateway kansasppehne com
                        ([192 168 1 2])
                        by KPC COMM, Thu, 26 Aug 1999 15 02 50 -0500
               RecewecL from tnthaw.chase corn ([204 149.85 6]) by gateway.kansasplpellne cam
                     via smtpd (for [192 168 1 70]) with SMTP; 26 Aug 1999 20 10 51 UT
               Received by tnthaw chase.tom, id QAA07699, Thu, 26 Aug 1999 16.08 05 -0400 (EDT)
               From <VEAN GREGG@chase c_m>
               Received from msw02 chase.corn(170 31 23 17) by tnthaw chase corn wa smap (,4 1)
                        id xma007582, Thu, 26 Aug 99 16"07 57 -0400
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                (Content Technologies SMTPRS 2 0 15) wzth SMTP Jd<B0010027580@mlmesweeper2 chase corn>,
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               852567D9 006DFCAD, Thu. 26 Aug 1999 16 01 21 -0400
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               To ykorb@kansaspLpelme corn, skorb@kansaspipellne.com, tawyertm@southwmd   net
               Message-ld <85256709 006DF8E1 00@3cmcO4smtp chase corn>
               Date Thu, 26 Aug 1999 14.54 41 -0500
               SubJeCt Kansas P_pellne Company
               MIME-Version 1 0
               Content-Type: text/plato, charset=-us-asci_
               Content-DLspos_t_on:mime




               Please see the attached request from Bdl Bray at M_dcoast
                                 For-warded by Vean Gregg/CHASE on 08/26/99 0254 PM




       _B_II         Bray <bbray@mJdcoastenergy.com>   on 08126/99 02 23 33 PM




               To       Vean Gregg/CHASE@CHASE

               cc.      Chns Kaltson <ckaltson@midcoastenergy.com>,   Chip
                       Berthelot <cberthelot@mldcoastenergy corn>




               Subject Kansas Pipehne Company




               Mean




                                                                                                KPI2764




                                                                                                    ENB-DOJ-022884
P,_,   ,)   Case 4:06-cv-00657 Document 23-12 Filed on 07/31/07 in TXSD Page 79 of 100



                                                      CHASE


              Chase Securities     Inc.
              600 Travls, 20 th Floor
              Houston, TX 77002

                                                                                                   August 18, 1999
              PRIVATE        AND CONFIDENTIAL


              Mr. Chip Berthelot
              Executive Vice President & Chmf Operating       Officer
              M_dcoast Energy
              1100 Lomsmna, State 2900
              Houston, TX 77002

              Dear Chlp



              On behalf of Dennis Langley (the "Seller") and The Bishop Group Ltd. ("Bishop"), a company
              wtuch is wholly-owned by the Seller, thank you for your continuing interest m Kansas Plpehne
              Company, a wholly-owned subsidiary of Bishop. As you know, Chase Securities Inc ("Chase")
              has been retained as financial advisor m connectmn with a sale of BIshop.

              This letter sets forth the procedures tbr the subtmsslon of a definmve, fully financed, binding
              offer (the "Offer") for the acqulsmon of Bishop (the "Transaction").   Enclosed please find the
              proposed form of the Agreement and Plan of Merger (the "Agreement") whmh reflects the terms
              upon which the Seller is prepared to consummate the Transaction with the prospective purchaser
              ("Purchaser").

              I.     Tnnmg. The Offer must be received by Chase no later than 5"00 P M. (Noon, Central %me)
                     on Monday, August 30, 1999.

               II    Contents of the Offer The Offer should include the following (please subrmt the Offer m
                     the same numbered format as outhned below)

                    (1)   Proposed    Purchaser  - the identity of the Purchaser   submitting   the Offer, including
                          other partmq)ants m the Transaction, if any

                    (n)   Primary Offer Value - the total value Purchaser is prepared to pay for 100% of the
                          Bishop common stock that is wholly owned by the Seller The Offer should consist of
                          the Stock Purchase Price, including assumption of the balance sheet, including all debt
                          and working capital, as outhned m Appendix l - Pro Forma Balance Sheet projected for
                          September 30, 1999 ("Appendix l")




                                                                                                               ENB-DOJ-035915
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  August 18, 1999
  Page 2



     (hi) Supplemental   Offers - In addmon to the pramary Offer outhned in [1 (u) above,
          Purchaser may submit addmonal alternauve b_ds or sUuctures to purchase the pipeline
          system held by Bashop, whach wall be reviewed and considered by the Seller.

     (av) Consideration     - a detailed description of the tbnn of consideratmn that the Purchaser is
          prepared to pay for the stock of B_shop. As d_scussed, this cons_deratmn will be
          ad.lusted at closing m order to reconcile with the balance sheet in Appendix I.

     (v)   Value for MarGasCo      - please indicate the ampliclt value from within the total bid that
           is attributed to MarGasCo    While MarGasCo is intended to be part of the sale, the Seller
           anay consider retaining MarGasCo if thas entity does not have meaningful value to the
           Purchaser.

     (w) Approvals    and Conditions    to Close - a summary of the approvals and any other
         condmons reqmred m connectaon with the Offer and consummation of the Transaction.
         Purchaser should note that the Seller expects that all reqmred corporate approvals for the
         Transactaon, including the authorlzatmn     of Purchaser's    Board of Darectors, will be
         obtained prior to the submassaon of the Offer. Any conditmns to closing, in addltmn to
         those set forth m the Agreement, must be clearly identafied and detailed in the Offer,
         including any reqmred consents and goverllment approvals and the arming for obtaining
         such approwals.

     (vn) Financing - details regarding the proposed financing of the Transaction, including, as
          appropraate, the proposed amount of senior debt, subordinated debt and equity, and the
          type of financmg (e.g. bridge, bank, private and/or public capital markets), as well as the
          ldentW of all restitutions involved and cop_es of any commmnent letters or financing
          agreements     Please note that the Seller wall look favorably on an Offer that does not
          contain a financing contingency.

     (wn) The Agreement     - the terms upon whmh the Purchaser is prepared to consummate the
          Transaction should be provided with the Offer m the form of the attached Agreement.
          Please mdacate in the Offer that Purchaser is prepared to execute promptly the
          Agreement in the form submitted (including any redhned rewsions).      Any proposed
          rewsmns to the Agreement should be presented m the form of redlmed changes to this
           version.


     0x) Timing - an estnnate of the time needed to close the Transaction taking into account all
         necessary regulatory approvals. This estHnate should include a last any additmnal due
         &hgence _tems whach the Purchaser wishes to conduct praor to executing the Agreement
         and closmg the Transactmn

     (x)   Other - any addltmnal    mformatmn     that may assist the Seller an its evaluanon   of the
           Offer, and




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            (Xl) Contacts - the name(s) and telephone number(s) of the person(s)      the Seller and Chase
                 should contact in clarifying and responding to the Offer.

      Ill    Transmittal   of the Offer and Agreement.   The Offer and Agreement   should be transmitted   as
             follows"

            (1)    if these items are transmitted by fax, the Offer and Agreement          should   be faxed
                   (including any redhned revisions of the Agreement) to

                              Vean Gregg
                              Chase Securities Inc
                              Global Oll and Gas
                              600 Travls, 20 th Floor-CTH   86
                              Houston, TX 77002
                              Facsnnlle   (713) 216-8882

            (ll)   if these doculnents are transmitted by fax, an original version of the Offer should be
                   received by the above (by hand or overnight mall) no later than 10:30 a in. the following
                   morning

            (nl) absent a transmittal by fax, an original version of the Offer and Agreement should be
                 received by the above no later than 5 00 P.M. (Noon, Central Time) on Monday, August
                 3O, 1999.

            (iv) Please also submit the Agreement by e-mall in electronic     tbrln (including   any redllned
                 revisions) to the attention ofVean Gregg as follows
                              vean gregg@chase.coln

       IV. Selection of the Purchaser. After receipt of the Offer, the Seller and Chase will contact each
           prospective purchaser, as necessary, to clarify the terms of such Offer or proposed revisions
           to tile Agreement. The Seller, with the assistance of Chase, intends to evaluate such Offers
           as expeditiously    as practicable     Although the foregoing reflects the Seller's present
           intentions concerning the process, the Seller reserves tile right, in its sole discretion, to
           evaluate the terms and conditions of any Offer and to accept or reject any such Offer fbr
           further consideration    without specifying reasons therefor and to alter the procedures set
           forth herein or terminate the process at any time without prior notice

       The existence and contents of this letter are subject to the terms of the confidetmahty      agreement
       that was previously executed by you and Bishop

       Chase continues to be available to respond to your questions and requests for supplementary
       mforlnatlon and to coordinate queshons with respect to the Offer or Agreement          Should you
       have any questions regarding the procedures detailed in fins letter, please feel flee to call Vean
       Gregg(713)   216-8848 orme(713)    216-6386. In no event should either the Selleror         Bishop
       be coutacted directly.




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  The Seller and Chase apprecmte   your interest m Bishop and look tbrward to hearing from you.

  CHASE SECURITIES       INC.
  on behalf of The Bishop Group Ltd.



  Bill Mamas
  Vice President
  /encl.




                                                                                             ENB-DOJ-035918
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           Appendix 1. Pro Forma Balance Sheet proiected for September 30. 1999


            Assets                                                  ($ m Mtlhons)
            Uhhty Plant, Net                                            $61 64
            Other Assets, Net                                            12 51
            Current Assets
               Cash Reserve for LTD                                      10 00
               Accounts Recewable                                         4 96
               Other Prepaid Expenses                                     0 79
               Total Current Assets                                      15 76
            Total Assets                                                 89.90

            Capitalization   and Liabilities
            Partners Capital                                            $13 37
            Long-Term Debt                                               62 39
            Revolving Credit Fac_hhes                                     6 00
            Restricted P_pel_neRoyalhes                                   3 09
            Current L6abdlhes
               Accounts Payable                                            2 20
               Accrued Interest                                            1 50
               Accrued Property Taxes                                      0 42
               Other Accrued L_ab_l_ties                                   0 94
               Total Current Liabd_hes                                     5 06
            Total Capitalization    and Liabilities                       89.90

           IUnencumbered      Working Capital at 9/30/99                  $0.7o
                                                                             I




                                                                                    ENB-DOJ-035919
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                                                                ("Redhne" Redraft)
                                                                 8/30/99 - 4:30 p.m.
                             AGREEMENT         AND PLAN OF MERGER

          THIS   AGREEMENT          AND   PLAN    OF MERGER        is made    and   entered   mto as of
                     ., 1999, by and among MIDCOAST ENERGY RESOURCES,                INC, a Nevada
 corporation   ("Parent"),   MIDCOAST     ACQUISITION       COMPANY,       a Delaware    corporation,
 which is a wholly owned &rect subsl&ary of Parent ("Merger Sub"), THE BISHOP GROUP,
 LTD., a Kansas corporation (the "Company")        and DENNIS M. LANGLEY            ("Stockholder").
 (Parent, Merger Sub, the Company and Stockholder           are hereinafter sometimes collectively
 referred to as the "Parties" and mdwldually as a "Party".)


                                              RECITALS

          A. The respective Boards of Directors of Parent, Merger Sub and the Company each have
  determined that it is m the best interests of their respective stockholders that the Company be
  merged with and into the Merger Sub, and, to that end, have approved the merger of the
  Company with and into the Merger Sub in accordance with the laws of the State of Delaware and
  the provisions of this Agreement and Plan of Merger.

          B. Approval of the stockholders     of Parent is unnecessary    and Stockholder     is the sole
  stockholder of the Company.

          t_, C_. Parent, Merger Sub, Stockholder   and the Company desire to make certain
  representations, warranties and agreements in connechon with, and estabhsh certain conditions
  precedent to, the Merger.


                                             AGREEMENT


           In consideration of the mutual agreements, promises and covenants set forth hereto and
  the recitals set forth above, and other good and valuable consideration, the receipt and adequacy
  of which are acknowledged, the parties hereto, intending to be legally bound, agree as follows.

                                             ARTICLE I
                                             DEFINITIONS

                  1.1     Defined   Terms. As used herein the following   terms shall have the
  following   meanings:

          Acquisition Proposal' Any proposal or offer from any Person relating to the direct or
  indirect acquisition of a business that constitutes 51% or more of the net revenues, income or
  assets of the Company or 51% or more of the Company Stock or any proposal or offer for a
  merger or other business combination w_th the Company, other than the Transactions

          Additional Agreements: Those agreements listed in this Agreement and attached hereto,
  either as of the date hereof or, subject to the mutual agreement of the parties, prior to Closing, as

                                                     1




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 exhibits and incorporated herein by reference, including but not limited to a mutually agreeable
 tax sharing agreement as well as all assignments and ancillary agreements necessary to
 effectuate the Merger.

           Adjustment Amount: Adjustment Amount shall have the meaning set forth in Section
 5.1(b).

           Adlustment Value: Adjustment Value shall have the meaning set forth m Section 5.1(b).

         Adverse Consequences: all debts, obligations, losses, costs of investigation and defense,
 damages, liabilities, claims, judgments, awards, settlements, taxes, penalties, fines, assessments
 and other costs and expenses (including any preludgment interest m any htigated or arbitrated
 matter) which may be recurred, made or levied; provided, however, that such term shall not
 include any punitive or exemplary damages

           Affiliates: Affiliates shall have the meaning set forth in Section 5.1(b).

          Agreement: This Agreement and Plan of Merger, including the preamble, recitals, and
  schedules hereto, all of which are hereby incorporated herein by reference and made a part
  hereof.

         Agreement-Related Litigation: Agreement-Related Litigation shall have the meamng set
  forth m Section 4-Z--513.5.




          Certificates: The certificates representing Company Shares to be surrendered m exchange
  for the Merger Consideration.

           Certificate of Merger: The document to be prepared by the parties hereto m comphance
  in all respects with the requirements of the DGCL and the Laws of the State of Kansas and the
  provisions of this Agreement.

         Closing: A meeting for the purpose of concluding the Transactions to be held at the place
  and on the date fixed m accordance with Section 2.3.

           Code: The Internal Revenue Code of 1986, as amended.

         Company: The Bishop Group, Ltd., a Kansas corporation, which will merge into Merger
  Sub as set forth in Section 2.1.

          Company Disclosure Schedule: That schedule from the Company to Parent to be
  delivered upon the execution of this Agreement, and updated, subject to approval of Parent, and
  redehvered at the Closing, which sets forth certain &sclosures concerning the Company and its
  Affihates and its and their businesses




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          Company Financial Statements: Company Financial Statements shall have the meaning
 set forth in Section 6.7.

       Company Shares or Common Stock: The shares of Class A Common Stock of the
 Company issued and outstanding Immediately prior to the Effective Time.

         Debt: means long term debt, current portion of lon_ term debt, and short term notes
 payable, all as defined by generally accepted accounting principles

           DGCL: The General Corporation Law of the State of Delaware.

         Effectxve Time: The date and time at which the Certificate of Merger has been duly filed
 with the Secretary of State of the State of Delaware or such other time as is agreed upon by the
 parties and specified in the Certificate of Merger.

         Environmental Claim: Any action, cause of action, claim, investigation, demand or notice
  by any Person alleging liability under or non-compliance with any Environmental Law.

           ERISA: The Employee Retirement Income Security Act of 1974, as amended.

           Exchange: The Exchange on which the Parent Common Stock is listed.

           Exchange Act: The Securities Exchange Act of 1934, as amended (15 U.S.C. § 78a et
  seq.).

          Facflmes' The real property, plant and eqmpment owned or leased by the Company and
  its Subsidiaries.

           Gas Contracts: Gas Contracts shall have the meaning set forth in Section 6.18.

          Governmental Authority' The Federal government, any state, county, mumclpal, local or
  foreign government and any governmental agency, bureau, commission, authority or body.

           HSR Act: The Hart-Scott-Rodmo Antitrust Improvements Act of 1976, as amended.

           Indemnified Party: Indemnified Party shall have the meaning set forth m Section 9.4.

           Indemmfs, in_ Party' Indemnifs'ing Party shall have the meaning set forth m Section 9.4

          Judgment' Any judgment, writ, injunction, order or decree of or by any court, judge,
  justice or magistrate, including any bankruptcy court or judge, having appropriate jurisdiction,
  and any adjudicative order of or by a Governmental Authonty.

          Law: The common law and any statute, ordinance, code or other law, rule, regulation,
  order, requirement or procedure enacted, adopted, promulgated, applied or followed by any
  Governmental Authority or court.




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          Lien: Any mortgage, hen or encumbrance, which (i)creates or confers an interest in
  property to secure payment or performance of a hablhty, obligation or claim, or which retains or
  reserves such an interest for such purpose; (ii)grants to any Person the right to purchase or
  otherwise acquire, or obligates any Person to sell or otherwise dispose of, or otherwise results or
  may result in any Person acquiring, any property or interest in property; 0i0 restricts the transfer
  of, or the exercise of any rights in or the enjoyment of any benefits arising by reason of
  ownership of, any property; or (iv)otherwise constitutes an interest in, or claim against,
  property, whether arising pursuant to any Law, Judgment or any binding contract.

            MaterLal Adverse Effect: Any change, event, occurrence or state of facts which is or
  which would reasonably be expected to lead to an adverse change in the aggregate amount of
  twenty-five thousand dollars ($25,000) or more to the business, operations, consohdated balance
  sheet and/or Facilities of the Company or any of the Company's Subsidiaries, or Parent or any of
  Parent's Subsidiaries, as the case may be, ..,L`;_h;o _,,fo,_.;_l,_ ,h_ ,-,......... .4,,o _,,L`o;_......
  ^. D.... * o_A ,*o e,,_.o;._;..._o *or....  a ""L`^_ _° *L`.........     _'_ other than any change or
  effect (i) arising out of general economic conditions, (ii) arising with respect to the industry in
  which the Company engages in business, but not specifically relating to the Company,
  (iii) arising out of or as a result of the public announcement of the Transactions, or 0v) arising
  out of events or facts set forth on the Company Disclosure Schedule or the Parent D_sclosure
  Schedule.

         Mer_er:    The merger of Company into and with Merger Sub at Closing, as set forth in
  Section 2 1.

          Merger Consideration: $         cash The Preliminary Cash Consideration, as
  adlusted following Closing, and $       worth shares of Parent Common Stock (based on
  the Parent Share Price) (the "Parent Common Stock Consideration") _.._r*L`_
                                                                          ,,D_o,_ _.._._oeL.
                                                                                     ...... _


         Mer_er Sub: Midcoast Acqms_t_on Company, a Delaware corporation, which is the
  wholly owned &rect subs_&ary of Parent and which will be merged with the Company and
  continue as the Surviving Company pursuant to the Merger.

          M_dcoast Value: Midcoast Value shall have the meanin_ set forth in Section 5.1(c)(i)ii)

          Parent: Midcoast Energy Resources, Inc., a Nevada corporation.

          Parent Common Stock: Duly authorized shares of common stock, __                   par value per
  share, of Parent.

         Parent Common Stock Consideration: Parent Common Stock Consideration shall have
  the meanin_ set forth in the defimtion of Mer_er Consideration.

          Parent Disclosure Schedule: That schedule from Parent to the Company to be delivered
  upon the execution of this Agreement, and updated, subject to the approval of the Company, and
  redelivered at Closing, which sets forth certain disclosures concerning Parent and Merger Sub
  and their businesses.




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         Parent Share Price: The average of the high and low sales prices of the Parent Common
  Stock for the twenty (20) trading days prior to three (3) days before the Closing.

          Parent SEC Reports:   The forms, reports and documents filed by Parent with the SEC
  since January 1, 1997.

         Pending Claims: Pending Claims shall have the meaning set forth in Section 6 8

          Person' Any natural person, corporation, limited liability company, general or limited
  partnership, joint venture, trust, association, unincorporated entity of any kind or Governmental
  Authority.

         Preliminary Cash Consideration' a cash sum equal to the difference between
  $          and the aggregate of (i) the value of the Parent Common Stock (based on the Parent
  Share Price) to be rece,ved by the Stockholder as part of ther Merger Consideration and (fi) the
  Debt of the Company and its Subsidiaries on a consolidated basis as of the Effective Date.

         Representatives: Officers, employees, legal counsel, financial advisors, accountants or
  other authorized representatives of any of the parties hereto, to be provided access to
  information.




         SEC: The Umted States Securities and Exchange Commission.

          Stockholder Value: Stockholder Value shall have the meanm_ set forth in Section
  5 1(C)(lii).

         Securities Act: The Securities Act of 1933, as amended (15 U S.C. § 77a et seq.).

          Subsidiary: In reference to any entity, any corporation, limited liablhty company, limited
  partnership or general partnership, a majority of the outstanding voting securities or voting
  control of which are owned directly or indirectly by such entity.

          Surviving Company: Merger Sub, which shall be the survivor of the Merger, as set forth
  in Section 2.1.

           Taxes: All Federal, state, local, foreign and other taxes of any kind, including without
  limitation, those on or measured by or referred to as income, gross receipts, sales, use, ad
  valorem, franchise, profits, withholding, payroll, employment, excise, severance, stamp,
  occupation, value added, windfall profits taxes, customs duties or similar fees and assessments of
  any kind, including interest, penalties and additions to tax or additional amounts imposed by any
  governmental authority with respect thereto.

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          Tax Returns. All returns, declarations, reports, information returns and statements with
  respect to Taxes of whatsoever kind.

         Third Party Claim: Third Party Claim shall have the meaning set forth in Sectxon 9.3.

         Transactions: The transactions contemplated by this Agreement, including the Merger
  and those contemplated by the Additional Agreements.

          Workang Capital: Current assets, less current debts, determined m accordance           with
  generally accepted accounting principles.

         Unwanted Assets: Unwanted Assets shall have the meaning set forth in Section 5.4.

                  1.2    Additional Terms. Terms not set forth in Section 1.1, but otherwise
  defined in the body of this Agreement, shall have the specific meanings attributed to them in the
  text. Terms in the singular shall have the same meanings when used in the plural and vice versa.




                                          ARTICLE II
                                   TERMS OF THE MERGER

                  2.1     The Merger     Upon the terms and subject to the con&tions of this
  Agreement, at the Effective Time, the Company and Merger Sub shall consummate the Merger
  in which (a) Company shall be merged into and with Merger Sub in accordance with the DGCL,
  (b) the separate existence of the Company shall thereupon cease, (c) the Merger Sub shall be the
  survivor to the Merger and, as the Sumving Company, shall continue its corporate existence
  under the DGCL as a wholly owned subsidiary of Parent, retaining its rights, privileges,
  immunities, powers and franchises, unaffected by the Merger, and shall assume all the rights and
  obligations (including without limitation employment contracts and subleases) of the Company.
  The Merger shall have the effects set forth in the DGCL.

                 2.2     Effective Time. Subject to the terms and conditions of the Agreement, the
  parties hereto shall prepare and execute a mutually agreeable Cemficate of Merger. The
  Certificate of Merger shall be filed on the date of Closing (or such other date as agreed by Parent
  and the Company) with the Secretary of State of the State of Delaware in the manner provided in
  the DGCL and the Merger shall be effective at the Effective Time.

                 2.3     Closing. The Closing of the Merger shall occur at the offices of Bryan
  Cave LLP, 1200 Main, Suite 3500, Kansas Qty, MO 64105, commencing at 10:00 A.M., local
  time, on or before the third business day following the date on which the condition set forth in
  Section 10.1(c) [HSR Act] shall have been fulfilled or wawed, or at such other place, time and
  date as Parent and the Company may agree.




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                                     ARTICLE III
                         CERTIFICATE OF INCORPORATION   AND
                         BYLAWS OF THE SURVIVING   COMPANY

                3.1 Certificate of Incorporation. At the Effective Time and in accordance with the
  DGCL, the Certificate of Incorporation of Merger Sub shall be the Certificate of Incorporation of
  the Surviving Company.

                 3.2    The Bylaws. At the Effective TLme and without any further action on the
  part of the Surviving Company, Parent, or the Merger Sub, the Bylaws of the Merger Sub shall
  be the Bylaws of the Surviving Company and thereafter may be amended or repealed in
  accordance with their terms, the Certificate of Incorporation of the Surviving Company and as
  provided by law.




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                                       ARTICLE IV
                               DIRECTORS AND OFFICERS OF
                                 THE SURVIVING COMPANY

                 4.1     Directors. The directors of Merger Sub at the Effective Time shall, from
  and after the Effective Time, be the directors of the Surviving Company until their successors
  have been duly elected or appointed and qualified or until their earher death, resignation or
  removal in accordance with the Surviving Company's Certificate of Incorporation and Bylaws.

                4.2      Officers. The officers of the Merger Sub at the Effective Time shall, from
  and after the Effective Time, be the officers of the Surviving Company until their successors
  have been duly elected or appointed and qualified or until their earlier death, resignation or
  removal in accordance with the Surviving Company's Certificate of Incorporation and Bylaws.

                                ARTICLE V
                   MERGER CONSIDERATION; CONVERSION OR
               CANCELLATION OF COMPANY SHARES IN THE MERGER

                 5.1    Merger Consideration.

                         (a)     Subject to the provisions of this Agreement, at the Effective Time,
         each th___ee
                  Company Shares, by virtue of the Merger and without any action on the part of
         the holder thereof, shall be converted into the right to receive the Merger Consideration.
         The eash Prehminary Cash Consideration and the Parent Common Stock Consxderatlon
         gase--ghar-es constituting a portion _._,h_..._.-*_._-_"_
                                                           ..... P_;a_o,;_._.,_,_,_,,_.
                                                                                  shall be paid to the
         Stockholder at Closing.


         r,, ......  _.........   ,_ _,n..... ,-_o;A .... ;_ The Preliminary Cash Consideratmn shall
         be increased or decreased (as the case may be) (with such difference being prod m cash
                    as hereinafter prowded by either Parent or Stockholder, as the case may be) to
         the extent the AdJustment Value is greater or less than seven hundred thousand dollars
         ($700,000) (such difference is referred to as the "AdJustment Amount").

                  "Adjustment Value" shall be calculated on a consolidated basis as of _          th____e
          Effective Time m accordance with GAAP, for the Company and the Affiliates of the
          Company set forth on Schedule 5. l(b) hereto (the "Affiliates") and shall be the Working
          Capital of the Company and the Affiliates on the Effectwe Date, with the following
          adlustments thereto: as fellev.'s: (i) decreased by the amount of restricted cash; 0i)
          increased by the amount of short term notes payable and current portion of long term debt
          payable; Off) to the extent there are any employee bonus plans or severance plans which
          are tnggered as a result of the execution of this Agreement or the closing of the
          Transactions, decreased by the liabilities attributable to such plans; 0v) decreased by the
          amount of all fees and costs payable by the Company and the Stockholder to attorneys,
          accountants and other professmnals m connection with the Merger and the Transactions;
          (v) decreased by the amount of all brokerage fees payable by the Company to Chase
          Secunhes, Inc. and/or Friedman, Bdhngs, Ramsey Group, Inc. in connection with the




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       Merger and the Transaction; and (v]) decreased or increased, as the case may be, by the
       fair market value of any natural gas futures contracts as of the Effective Date.


              paperandcther cashcrcashequ:valents
                                               :nc!ud:ng,
                                                       butnet!:re:ted
                                                                   to,theCaah




              or




               (c) The Adlustment Amount shall be paid in cash within three (3) business days
       after such determmanon has been made of the Adiustment Value. The Adlustment Value
       shall be determined as follows:

                      (i) Stockholder shall submit to Parent, not less than five (5) days prior to
              Closing, his _ood faith estimate of the Adjustment Value. Stockholder shall also
              provide Parent with the work papers and back-up materials used m preparing h_s
              est,mated Adiusted Value.

                      (ii) Within s_xty (60) days after the Closing Date, Parent shall prepare and
              deliver to Stockholder a statement as to its calculat,on of the Adjustment Value
              (the "Midcoast Value").

                      (iii) If Stockholder has any oblect]ons to the M_dcoast Value calculation,
              he shall deliver a detailed statement describing h_s oblect_ons to Parent and
              setting his calculation of the Adlustment Value (the "Stockholder Value") within
              fifteen (15) days after receiving the M_dcoast Value calculanon. Stockholder and
              Parent shall use reasonable efforts to resolve any such oblections themselves. If
              they do not resolve such objection within thirty (30) days after Stockholder has
              dehvered hxs statement of oblections, Parent and Stockholder shall select an
              accounting firm mutually acceptable to them which shall resolve any remaining
              obiectlons. If they are unable to agree on the choice of an accounting firm, they



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            shall select a nationally-recognized accounting firm by lot (after excluding their
            respective regular outside accounting firms), which such selection shall occur no
            later than ten (10) days following the expiration of the foregoing thirty (30) day
            time period. The determinations made by the accounting firm so selected shall be
            set forth in writing and shall be conclusive and binding upon the Parent and
            Stockholder. The determinations made by the accounting firm shall be delivered
            to Parent and Stockholder no later than thirty (30) days following selection of
            such accounting firm. Parent shall revise the statement of the Mldcoast Value as
            appropriate to reflect the resolution of any oblechons thereto pursuant to this
            Section 5 l(c) and such revised statement shall be the Adiustment Value.

                    (iv) In the event Parent and Stockholder submit any unresolved oblections
            to an accounting firm for resolution as provided in (b) above, they shall share
            responsibility for the fees and expenses of the accountm_ firm as follows'

                           (A) if the accounting firm resolves all of the unresolved oblectlons
                   in favor of Parent, Stockholder shall be responsible for all of the fees and
                   expenses of the accountm_ firm;

                           (B) If the accountin_ firm resolves all of the unresolved oblectlons
                   in favor of the Stockholder, Parent shall be responsible for all of the fees
                   and expenses of the accounting firm;

                           (C) if the accounting firm resolves some of the unresolved
                   obiectlons m favor of Parent and the rest of the unresolved objections m
                   favor of the Stockholder, Parent shall be responsible for the fraction of the
                   fees and expenses of the accounting firm equal to (x) the difference
                   between the Adlustment Value and the Midcoast Value, divided by (y) the
                   difference between the Stockholder Value and the Midcoast Value.

                    Example #1:

                           If the Mldcoast Value is 100, the Adiustment Value is 125, and the
                    Stockholder Value is 175, then Parent shall pay 25/75 or 1/3 of the fees
                    and expenses of the accounting firm, and Stockholder shall pay the
                    remaimng 2/3.

                           125-100        =        25    or      1/3
                           175-100                 75

                    Example #2'

                           If the Midcoast Value is 50, the Adiustment Value is 150, and the
                    Stockholder Value Is 200, then Parent shall pay 100/150 or 2/3 of the fees
                    and expenses of the accounting firm, and Stockholder shall pay the
                    remaining 1/3.




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                               150-50 =       100     or 2/3
                               200-50         150

                         (iv) Parent shall make the books and records of the Company and its
                Affiliates available for inspection, review and copying to Stockholder and his
                accountants and other representatives. Parent shall cooperate with Stockholder
                and will make the work papers and backup materials used in preparing the
                statement of the Midcoast Value available to Stockholder and his accountants and
                other representa-tives, in each case at reasonable times and upon reasonable
                notice at any time during (A) the preparation by Parent of the statement of the
                Midcoast Value, (B) the review by Stockholder of the Statement of the Midcoast
                Value, and (C) the resolution by the Parent and Stockholder of any ob}ections
                thereto.

                5.2     Cancellation of Company Shares.

                        (a)     All Company Shares to be converted into Parent Common Stock
         pursuant to Section 5.1 shall, by virtue of the Merger and without any action on the part
         of the holders thereof, cease to be outstandxng, be canceled and cease to exist, and each
         holder of a Certificate shall thereafter cease to have any nghts with respect to such
         Company Shares, except the right to receive for each of the Company Shares, upon the
         surrender of such Certificate in accordance with Section 5 3, a prorata share of the
         Merger Consideration.

                         (b)    At the Effective Time, each share of common stock of Merger Sub
         issued and outstanding immediately prior to the Effective Time shall, by virtue of the
         Merger and without any action on the part of Merger Sub or the holder thereof, be
         converted into shares of common stock of the Surviving Company pursuant to the
         Certificate of Merger.

                5.3   Payment for Company Shares m the Mer_er.            The manner of making
  payment for Company Shares m the Merger shall be as follows:

                         (a)    At the Effective Time, Parent shall pay by wire transfer the
         Preliminary Cash Consideration portion of the Merger Consideration and shall make
         available to the Stockholder, the aggregate number of shares of Parent Common Stock
         constituting the Merger Consideration payable pursuant to Section 5.1.

                         (b)     The Stockholder shall surrender to the Parent the Certificate
         evidencing the Company Shares. Until so surrendered, such Certificates shall represent
         solely the right to receive the Merger Consideration with respect to each of the Company
         Shares represented thereby.

                5.4     Distribution of Assets. Prior to the Closing, the assets of the Company set
  forth on Schedule 5.4 hereto (including without limitation the stock of The Bishop Corporation,
  E&C Group, Inc., Management Resources Group, Ltd., Bishop Rink Holdings, LLC and KP
  Operating Company, LLC) (the "Unwanted Assets") will be distributed to Stockholders in


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  redemption of               shares of the stock of the Company._ t_.,,,_...,,,_r_l
                                                                       ..... ;................
                                                                                    ,,_ o,._,_._o may
  be used]. In addition, Stockholder and not the Surviving Company shall own and have the rights
  to use the name "The Bishop Group Ltd." and all derivatives thereof.

                                        ARTICLE VI
         REPRESENTATIONS          AND WARRANTIES REGARDING THE COMPANY

                 Except as provided in this Agreement and except as set forth m the Company
  Disclosure Schedule (each section of which quahfies all of the relevant representations or
  warranties), the Stockholder hereby represents and warrants to Parent and Merger Sub as
  follows:

                  6.1     Company Shares. The Company Shares, at the Effective Time, will
  constitute all of the issued and outstanding capital stock of the Company and all such shares of
  Company Shares will have been duly authorized, validly Issued and shall be fully paid and non-
  assessable.

                  6.2     Capitalization. The entire authonzed capital stock of the Company
  consists of                      shares of Class A Common Stock and                         shares of
  non-voting Common Stock. As of the date hereof,                                  shares of Class A
  Common Stock are issued and outstanding and owned by Dennis M. Langley and zero (0) shares
  of such non-voting Common Stock are issued and outstanding. As of the date of this Agreement,
  all the outstanding shares of capital stock of each Subsidiary of the Company are owned by the
  Company, or by another wholly-owned subsidiary of the Company, free and clear of all Liens,
  and are duly authorized, validly issued, fully paid and non-assessable. There are not as of the
  date hereof, and there will not be at the Effective Time, any stockholder agreements, voting
  trusts or other agreements or understandings to which the Company Is a party or to which It is
  bound relating to the voting of any shares of the capital stock of the Company, or the capital
  stock of any of its Subsl&aries. There are no outstanding or authorized options, warrants,
  subscriptions, calls, demands or rights of any character relating to the Company's capital stock,
  or the capital stock of its Subsidiaries, whether or not issued, which the Company, or any'of its
  Subsidiaries, is a party to, including without limitation, securities convertible into or evidencing
  the right to purchase any capital stock or other securities of the Company or any of its
  Subsidiaries.

                  6.3    Corporate Organization, Qualification and Power. Each of the Company
  and its Subsidiaries is a corporation or partnership duly organized, validly existing and in good
  standing under the Laws of the jurisdiction of Its incorporation and is duly qualified to conduct
  its business and is m good standing in every other jurisdiction m which its business is conducted,
  except where failure to be so qualified, licensed or to be in good standing would not have a
  Material Adverse Effect. Each of the Company and its Subsidiaries has the corporate or
  partnership power to own or lease its respective properties and to carry on its business as now
  being conducted, wherever located. The Company's Subsl&anes are listed on the Company
  Disclosure Schedule and the Company owns no other material interest in any corporahon,
  partnership, limited hability company, proprietorship or any other business entity other than the
  stock in those Subsidiaries which will be distributed to the Stockholder as provided in Section
  5.4.


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                 6.4     Authorization of Agreement and Merger. The Company has the requisite
  corporate power and authority to approve, authorize, execute and deliver this Agreement and to
  consummate the Transactions. This Agreement, and the consummation by the Company of the
  Transactions have been duly and validly authorized by the Board of Directors of the Company
  and no other corporate proceedings on the part of the Company are necessary to authorize this
  Agreement or to consummate the Transactions. The Stockholder agrees to vote his Company
  Shares in favor of the Merger.

                 6.5     Enforceable Agreement.        This Agreement has been duly and validly
  executed and delivered by the Company and, assuming it constitutes the valid and binding
  agreement of Parent and Merger Sub, constitutes a valid and binding obligation of the Company,
  enforceable against the Company according to its terms, subject to bankruptcy, insolvency,
  fraudulent conveyance, reorganization, moratorium and similar Laws affecting the enforceability
  of contractual obligations and creditor's rights generally and by the application of equitable
  principles by courts of competent jurisdiction, sitting at law or in equity.

                  6.6     No Conflicts, Violations, Breaches or Defaults.           The execution and
  delivery of this Agreement by the Company and its performance of the obligations hereunder,
  including its execution, delivery and performance of any Additional Agreements to which it is a
  party and the consummation of the Transactions, do not (a) confhct with or result in any breach
  of any provision of the Articles of Incorporation, as amended, or Bylaws, as amended, of the
  Company or the comparable charter or organizational documents of any of its Subsidiaries;
  (b) require any consent, approval, authorization or permit of, or fihng with, or notification to,
  any Governmental Authority, except (i) in connection with the applicable requirements, if any,
  of the HSR Act; (ii) the filing of the Certificate of Merger pursuant to the DGCL and appropriate
  documents with the relevant authorities of other states in which the Company is authorized to do
  business; (ni) approvals, if any, required of the Federal Energy Regulatory Commission
  ("FERC") and any state Governmental Authorities having jurisdiction over the Company; or
  (iv) approvals of the lenders to the Company and its Subsidiaries, including without limitation,
  Chase Manhattan Bank and the holders of long term notes of the Company's Subsidiary,
  Synergy Pipeline Company, L.P., initially issued in or about 1992; or (v) where the failure to
  obtain such consent, approval, authorization or permit, or to make such fihng or notification,
  would not have a Material Adverse Effect or materially adversely affect the ability of the
  Company to consummate the Transactions; (c)except as would not have a Material Adverse
  Effect, conflict with or result in a breach or violation of, or constitute a default under, or result in
  (or create in any party the right to cause) the acceleration of any performance required by the
  Company or its Subsidiaries under, (l) any Judgment or Law to which they are subject or bound
  (subject to any consents, approvals, authorizations, permits, filings or notifications required
  under (b) above), or (ii)any mortgage, bond, indenture, agreement, contract, license or other
  instrument or obhgatlon to which the Company and/or Its Subsidiaries are subject or bound; or
  (d) result in the creation of any Lien on any of the assets of the Company or its Subsidiaries
  which would have a Material Adverse Effect.

                  6.7    Financial Statements. The consolidated balance sheets and the related
  consolidated statements of earnings, stockholders' equity and cash flows (including the related
  notes thereto) of the Company for and as of December 31, 1997 and 1998 and for and as of



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 __,        1999 (collectively,  the "Company    Financial Statements"),   have been prepared in
 accordance with generally accepted accounting principles applied on a basis consistent with
 prior periods (except as otherwise noted thereto), and present fairly the financial position of the
 Company and _ts Subsidiaries as of their respective dates, and the consolidated results of their its
 operations and their its cash flows for the periods presented therein (subject, in the case of the
 unau&ted     interim financial statements, to normal year-end adjustments      and except that the
 unaudited interim financial statements do not contain all of the footnote disclosure reqmred by
  generally   accepted   accounting   principles).

                    6 8     Litigation. Except as appropriately reoocr','edfor in the financ:al statements
  ,,,4 .....  * as set forth m the Company Disclosure Schedule (the "Pending Claims"), there is no
  action, suit, claim, governmental     investigation, arbitration or other proceeding pending, or, to the
  actual knowledge of the Stockholder or the Company's officers, threatened in writing, against
  the Company or any of its Subsidiaries or the Affiliates which, if adversely determined would
  have a Matenal Adverse Effect. All of the Pending Claims are appropriately reserved for in the
  Company Financial Statements

                   6.9     Taxes. The Company and each of its Subsidiaries and the Affiliates has
  hmely filed (or, as to its Subsidiaries, the Company has timely filed on their behalf) all material
  Tax Returns required to be filed by it (taking into account extensions approved by Governmental
  Authorities), has paid (or, as to its Subsidiaries, the Company has paid on their behalf) all Taxes
  shown thereon to be due and has provided (or, as to its Subsidiaries,       the Company has made
  provision on their behalf) reserves in accordance with generally accepted accounting principles
  in its financial statements for any Taxes that have not been paid, whether or not shown as being
  due on any Tax Returns, except where the failure to pay or provide for such Taxes would not
  have a Material Adverse Effect, and (l) no material claim for unpaid Taxes has been asserted
  against the Company or any of its Subsldmries m writing by a tax authority or has become a Lien
  (except for Liens for Taxes not yet due and payable or for Taxes that are being disputed in good
  faith by appropriate     proceedings    and that have been reserved against m accordance        with
  generally accepted accounting pnnclples)        against the property of the Company or any of its
  Subsidiaries, except as to such matters as would not have a Material Adverse Effect, (u) as of the
  date of this Agreement, no audit of any material Tax Return of the Company or any of its
  Subsidiaries is being conducted by a tax authority, and (m) as of the date of this Agreement, no
  extension of the statute of hmltatmns on the assessment of any Taxes has been granted by
  Company or any of its Subsidmries and is currently in effect.

                   6.10    Environmental  Laws and Regulations.           Except as set forth on the
  Company Disclosure       Schedule or for noncompliance       that will not have a Material Adverse
  Effect t :ghe Company and each of its Subsidiaries and the Affihates (a) are in compliance with
  Environmental     Laws (as defined below), e.'_ccpt ¢.........         1.....   .L.o, ...... _.4 ._ _..... a
  Mater:al Ad-'er_e Effect and (b) have not received written notice of, or to the Stockholder's
  actual knowledge,     is the subject of an Enwronmental        Claim which would have a Material
  Adverse Effect. The term "Environmental       Laws" shall mean any state or federal enwronmental
  statute or regulation, including, but not limited to, the Comprehensive       Environmental        Response,
  Compensation and Liability Act of 1980, as amended (collectively, "Environmental               Laws").




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                 6.11 Compliance with Apphcable Laws. Except as set forth on Company's
 Disclosure Schedule or for violations that will not have a Material Adverse Effect, the
 businesses of the Company and its Subsidiaries and the Affiliates are not being conducted in
 violation of any Laws_., exce ..................................... a .........................

                  6.12 Title to Properties. The Company and each of its Subsidiaries and the
  Affiliates has good and marketable title to, or valid leasehold interests in, all their respective
  material properties and assets except for such as are no longer used or useful in the conduct of
  their respective businesses or as have been disposed of in the ordinary course of business and
  except for defects m title, easements, encroachments, restrictive covenants and similar
  encumbrances or impediments that would not have a Material Adverse Effect All such assets
  and properties, other than assets and properties in which the Company or any of its Subsidiaries
  has leasehold interests, are free and clear of all Liens except for Liens that would not have a
  Material Adverse Effect.

                 6.13   Employee Benefit Matters

                         (a)    The Company has furnished to Parent true and complete copies of
         all material employee benefit plans within the meaning of Section 3(3) of ERISA that
         covers employees, directors, former employees or former directors of the Company and
         its Subsidiaries, all as listed in the Company Disclosure Schedule. In addmon, the
         Company has furnished any trust agreements or insurance contracts forming a part of any
         such employee benefit plans maintained by the Company, a copy of the most recent
         determination letter for any such employee benefit plan which is an employee pension
         benefit plan within the meaning of Section 3(2) of ERISA and is intended to comply with
         Section 401(a) of the Code, and a copy of the most recent Form 5500, If applicable.

                        (b)    Each of the employee benefit plans maintained by the Company
         and its Subsidiaries is in substantml compliance with all applicable Laws including
         ERISA and the Code, except for any noncompliance that would not have a Material
         Adverse Effect

                        (c)    No employee benefit plan is a "multiemployer plan" as such term
         is defined in Section 4001(a)(3) of ERISA or Section 414(f) of the Code or a
         multlemployer plan described m clauses (i) or (ii) of Section 3(37)(A) of ERISA; or is a
         part of a "multiple employer welfare arrangement" within the meaning of Section 3(40)
         of ERISA.

                        (d)    There are no pending, threatened, or anticipated claims (other than
         routine claims for benefits or immaterial claims) by, on behalf of or against any of the
         employee benefit plans or any trusts related thereto that would have a Material Adverse
         Effect.

                  6.14   Broker's Fees.   Except for the fees and expenses payable to Chase
  Securities, Inc. and/or Friedman, Billings, Ramsey Group, Inc., neither the Company nor the
  Stockholder has employed any investment bank, broker, finder, consultant or other intermediary,



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  which would be entitled to any fee or commission from the Company m connection with this
  Merger Agreement or the Transactions.

                  6.15 Absence of Certain Changes or Events. Since December 31, 1998, the
  Company and each of the Subsl&aryles and the Affiliates has conducted Its business m all
  material respects in the ordinary course consistent with past practice, and there is not and has not
  been: (i) any change which has had a Material Adverse Effect, or (i0 any condition, event or
  occurrence which is reasonably likely to have a Material Adverse Effect.

                 6.16 Labor Matters. As of the date of this Agreement, neither the Company nor
  any of _ts Subsl&aries or the Affiliates is a party to or bound by, and none of their employees is
  subject to, any collective bargaining agreement relating to the term and conditions of
  employment for any group of employees (any such agreement, memorandum or document, a
  "Collective Bargaining Agreement"), and as of the date of this Agreement there are no labor
  unions or other orgamzatlons representing or, to the knowledge of the Company, purporting to
  represent, any employees employed by any of the Company and its Subsidiaries. As of the date
  of this Agreement, no labor umon is currently engaged in or, to the knowledge of the Company,
  threatening, organizational efforts with respect to any employees of the Company or any of its
  Subsidiaries

                  6.17 Year 2000 Compatibihty. The Company and each of its Subsidiaries and
  the Affiliates has developed and is executing a plan (the "Y2K Plan") to address significant year
  2000 compatibility issues. In the case of certain equipment with imbedded chips where testing
  for year 2000 compliance is impossible or impractical, the Y2K Plan may include plans and
  strategies for replacing such capability with redundant capacity within the Company or with
  alternative third party sourcing with comparable quality and pricing, excluding any provxder of
  basic services and utilities.

                   6.18 Gas Contracts. All gas sales, purchase, treating, processing and
  transportation contracts (the "Gas Contracts") to which any of the Company and its Subsidiaries
  is a party or is otherwise bound are listed in the Company Disclosure Schedule. Copies of all the
  Gas Contracts, together w_th all amendments, modificatmns, revocatmns and notices pertaining
  thereto have been delivered or made available to Parent and the Merger Sub. Except as set forth
  in the Disclosure Schedule, none of the Company and its Subsl&anes is party to any
  arrangement under which it will be obligated, by wrtue of a prepayment arrangement, a "take-or-
  pay" arrangement or any other arrangement, to transport or dehver hydrocarbons at some future
  time without then or thereafter receiving full payment therefor, or to pay for hydrocarbons or
  their transportationwithout then rece_wng such hydrocarbons.

                  6 19 No Defaults. None of the Company and its Subsidiaries and the Affihates is
  m breach or default under any term or provision of any of the Gas Contracts except where such
  breaches or defaults would not, either in&vlduallg or in the aggregate, have a Material Adverse
  Effect. All of the Gas Contracts are m full force and effect, and constitute legal, vahd and
  binding obligations of the Parties thereto except where the failure to be in full force and effect
  and legal, valid and binding would not, either m&wduallv or in the aggregate, have a Material
  Adverse Effect. None of the Company and its Subsidiaries and the Affiliates has recewed any
  written notice from any other party indicating any intent to rescind or dishonor any material


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  provision contained m any of the Contracts. Except as set forth in the Disclosure Schedule, none
  of the Company and its Subsidiaries and the Affihates is a party to any contract to sell any
  portion of its assets other than m the ordinary course of business.

                  6.20 Insurance. The Subsidiaries and the Affihates maintain in effect insurance on
  their respective assets as described in the Disclosure Schedule. Such insurance policies are m
  full force and effect on the date hereof and will remain in effect through the Closing. None of
  the Company and its Subsidiaries is in default with respect to any provision contained in any
  insurance policy covering any portion of their assets, except where such default would not have a
  Material Adverse Effect.

                 6.21 Tariffs. Except as set forth m the Disclosure Schedule or for noncompliance
  that will not have a Material Adverse Effect, all operations of any of the Company and its
  Substdxaries and the Affihates whteh are subject to a tariff approved by FERC are m eomphance
  with each such tariff.

                                     ARTICLE VII
       REPRESENTATIONS           AND WARRANTIES OF PARENT AND MERGER SUB

                 Except as set forth in the Parent Disclosure Schedule (each section of which
  quahfies the correspondingly numbered representation or warranty), Parent and Merger Sub
  hereby jointly and severally represent and warrant to the Company as follows:

                  7.1     Capitalization. The entire authorized capital stock of the Parent consists
  of                       shares of Parent Common Stock, __         par value per share. As of the
  date hereof,                    shares of Parent Common Stock are issued and outstanding and no
  shares of Parent Common Stock or Parent Preferred Stock are held in treasury. As of the date
  hereof, such shares constitute all of the issued and outstanding capital stock of the Parent, all of
  which have been duly authorized, validly issued and are fully paid and non-assessable. All
  outstanding shares of capital stock of Parent's Subsidiaries are owned by Parent or a &rect or
  indirect wholly owned subsidiary of Parent, free and clear of all Liens, and are duly authorized,
  validly issued, fully paid and non-assessable. There are not as of the date hereof, and there will
  not be at the Effective Time, any stockholder agreements, voting trusts or other agreements or
  understandings to which Parent is a party or to which it is bound relating to the voting of any
  shares of the capital stock of Parent. As of the date hereof,                shares     of    Parent
  Common Stock were reserved for issuance upon exercise of outstanding options under the Parent
  Option Plans. Except pursuant to the Parent Option Plans, and as set forth m the Parent
  Disclosure Schedule, there are no outstanding or authorized options, warrants, agreements,
  subscriptions, calls, demands or rights of any character relating to the Parent's, or Parent's
  Subsidiaries' capital stock, whether or not issued, including without hmltatlon, securities
  convertible into or evidencing the right to purchase any capital stock or other securities of Parent
  or any of its Subsldmrles. Parent does not own, &rectly or indirectly, any capital stock of the
  Company.

                 7.2   Corporate Organization, Qualification and Power Each of Parent, its
  Subsidiaries and Merger Sub is a corporation duly orgamzed, vahdly existing and in good
  standing under the Laws of the jurisdiction of its incorporation and is duly quahfied to conduct


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